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               EXHIBIT 6
          Declaration of
        Owen Murray, D.O.
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 8
 9                                UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11     Claudia Romero-Lorenzo, et al.,                      NO. CV-20-00901-PHX-DJH (DMF)
12                                            Plaintiffs,
                                                            DECLARATION OF OWEN
13                    v.                                    MURRAY, D.O.
14     Brian Koehn, et al.,
15                                          Defendants.
16
17            I, Owen Murray, state the following based upon my personal knowledge.
18            1.      I am over the age of 18 years old and competent to testify to the matters set
19     forth in this Declaration based upon my own personal knowledge, review of records, and
20     tours of the facilities.
21           2.       I am a licensed physician in the State of Texas and I am certified by the
22    American Board of Family Medicine. I am also a Certified Correctional Health Professional
23    by the National Commission on Correctional Health Care (“NCCHC”).
24           3.       I have considerable expertise in correctional health care, with more than 30
25    years of experience in correctional medicine. Specifically, for the past 26 years, I have
26    worked for the University of Texas Medical Branch (UTMB) Offender Health Services
27    Program.
28
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 1           4.      I currently serve as the Vice President of Offender Health Services,
 2    Correctional Managed Care for UTMB in which capacity I am responsible for ensuring the
 3    provision of all medical, mental health, and dental services for approximately 98,000 adult
 4    offenders in the Texas Department of Criminal Justice state jails and prisons (i.e.,
 5    approximately 80% of the state’s correctional facility population), as well the delivery of
 6    such services to juvenile offenders in the Texas Juvenile Justice Department facilities.
 7           5.      I oversee a staff of approximately 3,500 health care and clinical support
 8    employees located at more than 100 correctional facilities throughout the state of Texas as
 9    well as the prison hospital on the Galveston campus.
10           6.      Before joining UTMB in 1995, I served as a Divisional Medical Director of
11    Chicago’s Cook County Jail and several correctional facilities operated by the Illinois
12    Department of Corrections.
13           7.      In addition, I have served as a health care consultant for a number of
14    correctional systems, including the California Department of Corrections and Rehabilitation
15    and the Arizona Department of Corrections, Rehabilitation and Reentry.
16           8.      I have been a Commissioner for Accreditation for the American Correctional
17    Association.
18           9.      In my role as Vice President of Offender Health Services for UTMB
19    Correctional Managed Care (CMC), I have significant experience evaluating the
20    management of infectious disease, to include COVID-19, in the correctional setting,
21    consistent with standards and guidance promulgated by the American Correctional
22    Association and the U.S. Centers for Disease Control and Prevention (CDC).
23           10.     Since the start of the pandemic, I have been focused on the planning and
24    implementation of the COVID-19 mitigation strategies implemented in the TDCJ and TJJD.
25    This involvement has included the development of applicable COVID-19 testing protocols
26    and strategies for patients and staff; the development of policy and practice consistent with
27    Centers of Disease Control (CDC) Interim Guidance in Correctional and Detention
28    Facilities; and the oversight and health care coordination of acute care hospital and Intensive

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 1    Care services for over 1,000 TDCJ patients in both community and the prison hospital (HG)
 2    on the UTMB Galveston campus.
 3           11.      I have also assisted with acquisition and utilization of Remdesivir and
 4    convalescent plasma therapy for TDCJ patients hospitalized at HG. I have worked with my
 5    TDCJ colleagues to create and staff hundreds of additional infirmary and sheltered housing
 6    beds throughout the state to manage the care requirements for COVID-19 hospital
 7    discharged patients. I have worked with our CMC leadership team to coordinate the staffing,
 8    personal protective equipment, and testing necessary to manage COVID-19 care at over 83
 9    facilities across the state of Texas.
10           12.      Since May 2020 I have reviewed the adequacy of the COVID-19 mitigation
11    strategies in multiple jails and detention centers throughout the country, including:
12                    • Irwin County Detention Center, GA
13                    • Stewart Detention Center, GA
14                    • Eloy Detention Center, AZ
15                    • La Palma Correctional Center, AZ
16                    • Krome Detention Center, FL
17                    • Glades County Detention Center, FL
18                    • Broward Transitional Center, FL
19                    • Adelanto Detention Center, CA
20                    • Metrowest Detention Center, FL
21                    • Shelby County Jail, TN
22                    • North Carolina Department of Corrections, NC
23                    • Maricopa County Sheriff’s Office Jails, AZ
24                    • Otay Mesa Detention Center, CA
25           13.      My curriculum vitae is attached as Attachment A.
26           14.      I was provided the following materials for my review in this case:
27                 • Declaration of Keith Ivens, Dkt. 16-02
28                 • Declaration of Warden Kline, Dkt. 16-03

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 1              • First Supplemental Declaration of Warden Kline, Dkt. 23-1
 2              • Declaration of Warden Kline, Dkt. 41-01
 3              • Declaration of Warden Kline, Dkt. 57-01
 4              • Declaration of Warden Kline, Dkt. 48-01
 5              • Expert Report and C.V. of Homer Venters, MD (Plaintiffs’ Expert)
 6              • Deposition Transcripts with exhibits for the following witnesses:
 7                    o Chief Bayless (USMS)
 8                    o Keith Ivens, M.D.
 9                    o Kristyn Jaramillo (CAFCC Complex HSA)
10                    o Warden Kris Kline (current CAFCC Warden)
11                    o Brian Koehn (former CAFCC Warden)
12                    o Carrie Rose, RN, BSN (CAFCC)
13              • Defendant Kline’s Discovery Responses
14              • Photographs of CAFCC (May 2020 through February 2022)
15              • COVID-19 Trackers (USMS Detainees and CAFCC Staff)
16                    o USMS Detainees COVID-19 Vaccine Tracking (2021)
17                    o USMS Master Quarantine Roster (11/09/21)
18                    o Staff COVID-19 Positive Tracker (11/18/21)
19                    o USMS COVID-19 Vaccine Tracker (2/18/22)
20                    o USMS Master Quarantine Roster (2/11/22)
21                    o Staff COVID-19 log (2/14/22)
22              • COVID-19 Vaccine Information (USMS Detainees)
23                    o Janssen COVID-19 Vaccine Fact Sheet
24                    o Janssen COVID-19 Vaccine Fact Sheet-Spanish
25                    o Vaccine Here’s the Scoop flyer
26                    o Vaccine Refusal Form
27                    o Vaccine Consent Form
28                    o Moderna Vaccine Community Release Info

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 1                    o Local Health Dept Contacts
 2                    o Boosters & Vaccines flyer English & Spanish
 3                    o Staff COVID-19 Educational Handout
 4                    o Vaccine Facts IRDs-UPDATED-062021
 5                    o Vaccine Facts IRDs SPANISH-UPDATED-062021
 6                    o Moderna Vaccine Information Sheet
 7                    o Moderna Vaccine Information Sheet for Providers
 8                    o Boosters vaccines flyer English, Spanish
 9                    o Updated Johnson & Johnson fact sheet 2-7-22
10                    o Janssen fact sheet Spanish 1.31.22
11              • CAFCC Sanitation Logs (April-July 2020; November 2020- November 2021)
12                    o Unit Sanitation logs (April-Jul 2020)
13                    o Unit Sanitation Logs (Nov. 2020)
14                    o Zone 1 Sanitation Log Nov 2020 to Nov 2021
15                    o Zone 2 Sanitation Logs Nov 2020 to Nov 2021
16                    o Zone 3 Sanitation Logs Nov 2020 to Nov 2021
17                    o Zone 4 Sanitation Logs Nov 2020 to Nov 2021
18                    o Zone 5 Sanitation Logs Nov 2020 to Nov 2021
19                    o Zone 6 Sanitation Logs Nov 2020 to Nov 2021
20                    o Zone 7 Sanitation Logs Nov 2020 to Nov 2021
21              • CoreCivic COVID-19 Pandemic Response Plan
22              • Medical emergency Pandemic COVID-19 Plan
23              • Unit 11 Town Hall Meeting Records
24              • COVID-19 Testing Protocol
25              • CoreCivic Vaccination Plan (March 2021)
26              • COVID-19 Vaccination Plan (updated January 2022) CORECIVIC-
27                 MLG003499-3507
28              • CDC Pre-Vaccination Checklist

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 1                 • CDC Pre-Vaccination Checklist (Spanish)
 2                 • COVID vaccine Moderna training plan for staff
 3                 • OSHA Process and Protocols for Employee COVID-19 Infection
 4                 • Weekly PC Dept of Health Vaccine Provider Meeting (01-14-21)
 5                 • Pinal County Dept. of Health Archives (11/16/21)
 6                 • Email to K. Jaramillo dated 3/5/21 - FW_ You have been enrolled in
 7                    Pandemic Provider Courses
 8                 • AZ Dept. of Health Services – Certificate of Completion for K. Jaramillo for
 9                    ASIIS Vaccine Storage and Handling
10                 • Talking Points for Town Halls, updated Feb. 2022
11                 • Here’s the Scoop
12                 • Photo of detainee tablet
13           15.      In forming my expert opinions in this case, I also conducted an on-site tour
14    of CAFCC on April 15, 2022. During the tour I was able to speak with various CoreCivic
15    security and health care staff. I did not interview any United States Marshals Service
16    (USMS) detainees because to do so would not be appropriate where this is a certified class
17    action lawsuit and the USMS detainees are represented by counsel.
18           16.      I have also reviewed all revisions to the CDC Interim Guidance for
19    Correctional and Detention Facilities (“CDC Interim Guidance”) since the pandemic started,
20    to include the most recent iteration issued on May 3, 2022.
21           17.      As has been the case for the CDC’s Interim Guidance from its initial issuance,
22    the CDC guides that its strategies may not be feasible depending on a particular facility’s
23    resources and operational capabilities.
24     Background on COVID-19 and CDC Interim Guidance
25           18.      Illness caused by SARS-CoV-2 has been termed COVID-19 by the World
26    Health Organization (WHO), an acronym derived from “Coronavirus Disease 2019.”
27           19.      Set forth below is an abbreviated timeline of the first six months of events in
28    connection with the initial public health response to COVID-19 following its discovery in

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 1    the United States.
 2               • December 12, 2019:        A cluster of patients in Wuhan, China, begin to
 3                  experience symptoms of what we would later learn to be COVID-19.
 4               • January 7, 2020: Chinese authorities identify and isolate a novel coronavirus
 5                  as the causative agent of the COVID-19 outbreak.
 6               • January 17, 2020: CDC implements health screenings in three U.S. airports.
 7               • January 20, 2020: CDC confirms the first U.S. confirmed case of COVID-19
 8                  from samples taken on January 18 in Washington state.
 9               • January 29, 2020: WHO declares a Public Health Emergency.
10               • February 6, 2020: CDC announces the first COVID-19 death in the U.S.
11               • February 11, 2020: WHO announces the official name for the 2019 novel
12                  coronavirus outbreak is COVID-19.
13               • February 17, 2020: During a House Foreign Affairs hearing, the CDC
14                  Director Robert Redfield testifies that “healthy people do not need to wear
15                  masks.”
16               • February 29, 2020: Dr. Anthony Fauci, Director of the National Institute of
17                  Allergies and Infectious Diseases, reports that the country remains at “very
18                  low risk.”
19               • March 8, 2020: in an interview with 60 Minutes, Dr. Fauci states that mask
20                  wearing is “not providing the perfect protection that people think that it is.”
21               • March 11, 2020: WHO declares COVID-19 a global pandemic.
22               • March 15, 2020: CDC recommends canceling events of 50 or more people.
23               • March 16, 2020: CDC introduces social distancing guidelines.
24               • March 17, 2020: U.S begins first human trial of COVID-19 vaccine.
25               • March 23, 2020: CDC issues Interim Guidance for Management of COVID-
26                  19 in Correctional and Detention Facilities. See “Interim Guidance on
27                  Management of Coronavirus Disease 2019 (COVID-19) in Correctional and
28                  Detention Facilities,” available at https://www.bop.gov/foia/docs//CDC

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 1                    Correctionalfacilityguidance3.23.pdf.
 2                 • March 24, 2020: Even as COVID-19 spreads across the U.S., CDC’s advice
 3                    remains unequivocal: healthy people who do not work in the health care
 4                    sector and are not taking care of an infected person at home do not need to
 5                    wear masks.
 6                 • March 31, 2020: Dr. Fauci reveals that the White House COVID-19 task
 7                    force is seriously considering guidance that Americans wear masks to thwart
 8                    the spread of the virus.
 9                 • April 3, 2020: CDC announces new mask-wearing guidelines and
10                    recommends that non-medical face coverings be worn in public when social
11                    distancing is difficult to maintain – especially in areas with significant
12                    amounts of community transmission. The CDC publishes tutorials on making
13                    non-medical face masks using t-shirts and rubber bands.
14                 • May 2, 2020: WHO renews its emergency declaration from three months
15                    prior calling the pandemic a global health crisis.
16                 • June 18, 2020: California Governor Newsom makes face masks mandatory
17                    amid rising COVID-19 cases.
18                 • June 25, 2020: CDC expands the list of people at risk for severe COVID-19
19                    illness by removing the specific age threshold from the older adult
20                    classification, noting that the risk increases with age. CDC also includes
21                    people with chronic kidney disease, COPD, obesity, immunocompromised
22                    from solid organ transplant, serious heart conditions, sickle cell disease, and
23                    type 2 diabetes to be at increased risk of severe COVID-19 illness.
24                 • July 14, 2020: CDC Director Dr. Redfield declares: “Now’s the time to wear
25                    a mask. I think we’re being very clear.”
26           20.      This abbreviated “first six months” timeline reflects how rapidly COVID-19
27    affected the country at its early stages, to include its correctional and detention facilities.
28           21.      At the onset of COVID-19, most correctional systems had a pandemic flu

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 1   policy in place to assist with planning and practice associated with the management of
 2   influenza, norovirus, and other infectious illnesses. However, COVID-19 required a
 3   completely different response, well beyond what correctional systems had historically
 4   encountered.
 5          22.     Upon its publication in late March 2020 through the present, the CDC Interim
 6   Guidance is the best practice standard to which all correctional and detention facilities in the
 7   U.S. are attempting to conform.
 8          23.     The CDC’s Interim Guidance spurred correctional systems and institutions to
 9   effectuate monumental changes in their policies, practices, and physical plants. In a
10   relatively short period of time, correctional and detention facilities have had to examine their
11   operations and confront the challenges of COVID-19 infection control in a variety of facility
12   settings, with no two facilities being exactly alike.
13          24.     While implementation of the various recommended best practices is
14   important, the CDC Interim Guidance does not set forth a hierarchy of priorities. Rather, it
15   contains a series of considerations and recommended practices intended to provide guiding
16   principles for correctional and detention facilities to mitigate the spread of COVID-19 in
17   such institutional environments.
18          25.     The guiding principles will not, and are not intended to, address every
19   possible custodial setting; rather, they affirmatively require tailoring to the individual
20   environment.
21          26.     In this regard, the CDC Interim Guidance acknowledges up front that its
22   guiding principles “may need to be adapted based on individual facilities’ physical space,
23   staffing, population, operations, and other resources and conditions.”
24          27.     Since their promulgation, time has not allowed for rigorous review of
25   COVID-19 outcomes to determine the relative criticality of each of the guidelines and
26   recommendations contained in the CDC’s Interim Guidance.
27          28.     In the absence of such evidence-driven data, any given facility’s
28   implementation of the Interim Guidance had to be reviewed relative to the facility’s

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 1   particular circumstances, attributes, and limiting factors.
 2          29.     In other words, it is an individual correctional or detention facility’s
 3   adherence to the guidance in totality—relative to the limitations created by physical space,
 4   staffing, population, operations, and other resources and conditions—and the organization’s
 5   demonstrable commitment to modify over time, that ultimately yields the best outcome.
 6          30.      Indeed, as information is learned about the transmissibility, testability, and
 7   treatment of COVID-19 on a day-to-day basis, any reliable measure of adherence to the
 8   Interim Guidance must be assessed with full awareness of this rapidly changing dynamic.
 9   CAFCC Facility Tour
10          31.     On April 15, 2022, I toured and reviewed CAFCC’s COVID-19 response
11   operations for USMS detainees. I was accompanied by Assistant Wardens M. Wallace and
12   A. Hickson, Health Services Administrator            C. Rose, and Complex Health Services
13   Administrator K. Jarmillo.
14          32.     On that day, the facility had a total detainee/inmate population of
15   approximately 3,639 across all jurisdictions housed at CAFCC, which included other
16   jurisdictions than USMS detainees.
17          33.     I asked to see exemplar housing units, recreation areas, medical clinics, and
18   PPE storage. I spoke with facility correctional and health care staff who were on-site during
19   the tour.
20          34.     As noted above, I could not speak with the detainees, as they are represented
21   by counsel, who were not present during my tour.
22          35.     While touring the facility and speaking with security and health care staff, I
23   found ample evidence from which I concluded that CAFCC has implemented, to the greatest
24   extent possible, the recommendations from the CDC’s Interim Guidance for correctional and
25   detention center operations.
26          36.     My salient observations during the mid-April 2022 tour which support my
27   conclusions are as follows.
28          Visitor Entrance

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 1          37.     We entered CAFCC through the main entrance of the facility and encountered
 2   a correctional officer who performed temperature and symptom screening for each member
 3   of our party. He indicated that this is standard procedure for the facility.
 4          38.     Masks must be worn in the facility and a supply of surgical masks is available
 5   at the front desk should a prospective entrant need one. Hand sanitizer was present and
 6   available.
 7          39.     The grey bins used to collect a visitor or employee’s personal items that are
 8   required to pass through the x-ray machine are sanitized after each use.
 9          40.     The front lobby officer pointed out the multiple COVID-19 educational
10   posters present in the lobby. The postings included a “Here is the Scoop on COVID-19
11   Vaccine and Boosters” poster which created by CAFCC’s medical staff and was posted in
12   both English and Spanish.
13           1000 Alpha Unit
14          41.     I inspected 1000 Alpha Unit which has 19 two-person cells and can hold up
15   to 38 detainees.
16          42.     There was a medical drop box for sick call requests. HSA Rose noted that
17   the sick call requests were triaged daily by CAFCC nursing staff.
18          43.     I observed numerous examples of written COVID-19 and vaccination
19   information posted inside the unit for detainee review (posted in both English and Spanish).
20          44.     Vaccine booster informational postings were up to date and available in
21   English and Spanish for review.
22           1000 Echo Unit
23          45.     1000 Echo Unit offers two-person cells and 14-person group cells. There was
24   a medical drop box for sick call requests.
25          46.     Identical COVID-19 information on the virus, vaccinations, and boosters was
26   available in English and Spanish and up to date.
27           Lima Alpha Unit
28          47.     Lima Unit is made up of Alpha, Bravo, and Charlie sections, each of which

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 1   has 20, two-person cells.
 2          48.       The Alpha and Bravo sections were used for housing t of COVID-19 positive
 3   detainees.
 4          49.      The detainees were housed in single cells where feasible due to population
 5   numbers.
 6          50.      Nursing services provides daily symptom checks, vital signs, and a blood
 7   oxygenation test on all positive patients.
 8          51.      The Charlie section was used for overflow and had been used only on
 9   occasion during the pandemic.
10          52.      A Family Nurse Practitioner (“NP”) personally oversees all care provided to
11   COVID-19 positive detainees housed in the Lima Unit. The NP evaluates each patient daily
12   and can move detainee patients as necessary to higher levels of observation such as to
13   medical housing if their clinical symptoms or high-risk health condition warrant.
14          53.      The detainees in the Lima Unit are fed in their cells on Styrofoam trays and
15   using disposable utensils so that trays used by COVID-19 detainees are not reused. COVID-
16   19 positive detainees must always be masked when outside of their cell.
17          54.      There was ample and appropriate PPE available for security and health care
18   staff and there was signage on the entrance door mandating its use prior to entry.
19           Medical Four
20          55.      I toured a medical clinic which offered provider rooms; mental health office
21   space; and lab, dental x-ray, and medication rooms. Ample COVID-19 rapid tests are
22   available.
23          56.      Using their clinical judgment, CAFCC health care providers decide whether
24   to order rapid testing or PCR testing for inmates suspected of having COVID-19.
25          57.      The medical unit had two negative air pressure rooms; there are five total
26   throughout the facility. Additionally, there are three single cell medical beds in the clinic
27   and 7 total in the facility.
28          58.      I saw a demonstration of the Allscripts electronic health record and its ability

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 1   to report patients by specific medical condition (hypertension) or COVID-19 risk factor
 2   (age).
 3            59.    Allscripts also documents and tracks detainee immunization status.
 4   Additionally, CAFCC reviews the Arizona State Immunization Information System (ASIIS)
 5   to validate a detainee’s reported vaccination history provided during the intake screening
 6   process. Unfortunately, most of detainees are not from Arizona and therefore do no not have
 7   their vaccination history recorded in ASIIS.
 8            60.    If a patient is unable to provide documentation of a valid vaccine
 9   administration or their name is not in the ASIIS database, CAFCC identifies them as
10   unvaccinated.
11             Infirmary
12            61.    The infirmary is a twelve-bed open concept unit that had been created out of
13   space previously used for visitation. The infirmary is licensed by the Arizona Department of
14   Health.
15            62.    The unit is only available to USMS detainees. The unit has 24-hour RN
16   nursing coverage and focuses on higher acuity patients.
17            63.    While in the infirmary, I noted that COVID-19 vaccination information has
18   been placed on the home screen of the detainees’ tablets. Specifically, the tablet shows a
19   copy of the “Here’s the Scoop” flyer that is posted throughout the facility and provides
20   current information on how to request a COVID-19 vaccine, including boosters; who is
21   eligible for boosters; and the amount of time that must pass between vaccination and
22   administration of a booster.
23            64.    The detainee cannot access the tablet’s content until the detainee has
24   acknowledged having read the vaccination information.
25   Updated/Present CAFCC Operations
26            65.    The CDC updated its Interim Guidance for correctional and detention
27   facilities on May 3, 2022, which was subsequent to my mid-April tour of CAFCC.
28            66.    Recent updates to the CDC Interim Guidance for Correctional and Detention

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 1   Facilities includes the May 3, 2022 update provide prevention strategies for everyday
 2   operations as well as enhanced prevision strategies to add when risk increases based upon
 3   community risk and spread, internal facility risk and spread, or a combination of both. (See,
 4   e.g., May 3, 2022 Interim Guidelines attached hereto as Attachment B; May 3, 2022 Interim
 5   Guidelines CDC Slide Deck at Attachment C.)
 6          67.     Of note, the May 3, 2022 Interim Guidelines guide that where feasible
 7   depending on the operations of the facility, a detention center operating under everyday
 8   operations should offer vaccinations, and either test for COVID-19 or employ a routine
 9   observation period (either individual housing at intake or house in small cohorts) at intake
10   (new admissions). Under Enhanced Prevention operations, the routine observation period
11   may be 7-10 days in duration if no testing and a minimum of 5 days with testing at the end.
12   Likewise, the Interim Guidelines recommends that both “Every Day” and “Enhanced
13   Operations” operations isolation/quarantine periods for detainees infected or exposed be 10
14   days. Under the May 2, 2022 Guidance, masks should be offered to all detainees under
15   Everyday Operations. (Attachment B at slides 22-35.)
16          68.     A facility’s determination whether to add or remove enhanced COVID-19
17   prevention strategies as discussed in the May 3, 2022 CDC Guidance, is fluid in terms of
18   adding enhanced strategies and then which strategies a facility is able to add in a meaningful
19   way. (Id.)
20          69.     During the mid-April 2022 tour, I discussed the availability and use of
21   COVID-19 oral antivirals which were, based upon my personal experience in Texas, still
22   difficult to obtain and if any were obtained, it was only in small amounts due to short supply.
23   CAFCC medical staff communicated to me that they were aware of the oral antivirals and
24   were working to ensure CAFCC would have access to the same when they became available.
25          70.     Based upon this discussion and my personal knowledge that the antivirals
26   were difficult to obtain at that time, I did not specifically ask CAFCC medical staff I
27   interviewed whether or not CAFCC had any in stock or had ordered any.
28          71.     Presently, CAFCC has access to the COVID-19 Paxlovid and Molnupiravir

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 1   antiviral medications through local pharmacy order, where clinically indicated to be
 2   prescribed to a COVID-19 patient and where the detainee patient agrees to take the antiviral
 3   medication.   Detainees have the right to refuse medical care including recommended
 4   medication prescriptions even where recommended by CAFCC health care providers.
 5   Moreover, antiviral medication (Paxlovid, Molnupiravir, or Remdesivir) may be clinically
 6   indicated to be prescribed for non-hospitalized patients who do not require supplemental
 7   oxygen, have had a positive COVID-19 test within 5 days of onset of COVID-19 symptoms,
 8   have existing COVID-19 risk factors and are at high risk of progressing to severe COVID-
 9   19 illness, and who do not have contraindications to the medication such as allergy or certain
10   health conditions to include hypertension. If Remdesivir is clinically indicated, it is my
11   experience that that the medication may be obtained for the patient by sending the detainee
12   patient to a local hospital emergency department for evaluation and where clinically
13   indicated, prescribe and provided at the hospital.
14          72.     Where CAFCC can obtain antiviral medications through local pharmacy
15   order, there is no need to keep the medications in stock for every single detainee who may
16   be prescribed the medication in the event that they actually become infected with COVID-
17   19. Rather, like any multitude of medications, the antivirals – now widely available – can
18   simply be ordered by CAFCC health care providers when clinically indicated for a particular
19   detainee patient.
20          73.     Consistent with current CDC Interim Guidance, presently all CAFCC new
21   admission detainees are tested for COVID-19 during the intake process and unless they are
22   symptomatic or test positive for COVID-19, they are then assigned to appropriate housing.
23   Also consistent with current CDC Interim Guidance, detainees who show COVID-19
24   symptoms or are identified as close contacts with COVID-19 positive detainees are offered
25   a COVID-19 test.
26          74.     Again, consistent with CDC Interim Guidance, detainees who are COVID-19
27   positive are isolated for 10 days. Housing pods from which a COVID-19 positive detainee
28   is identified (and removed from the housing pod and isolated) are quarantined for 8 days to

                                                    15
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 1   test close contact detainees and monitor for COVID-19 symptoms. 1
 2   Response to Dr. Venters’ Opinions
 3         75.      Dr. Venters recommends that CAFCC improve overall vaccination rates by
 4   providing unit-based, vaccination-specific town hall meetings as well as individual
 5   counseling for high-risk patients to improve vaccination acceptance. CAFCC is and has been
 6   providing regular monthly town hall meetings with all detainees to educate and encourage
 7   vaccination. For example, vaccination offering numbers from March 31, 2021 through
 8   February 8, 2022 were as follows:
 9
                                                                                 Number of
10                                                                               Detainees
                                                                                  Offered
11         Date                     Location(s) / Housing Units                   Vaccine
12       03/31/21      G, J, L                                                     246
         04/07/21      1000, 1100, 400, 600, 800                                   258
13       04/16/21      1000, 1100, 400, 500, 600, L, SEG, ISO                       20
         04/22/21      1100, 1200                                                  219
14
         04/23/21      1000, 1200, 400, 500, 600, 700, G, L                         20
15       04/27/21      700, 1200, G, Infirmary                                     146
         04/28/21      600, 900                                                    284
16       04/29/21      600, 800, 900, D, SEG                                       159
17       04/30/21      400, 500, 700, 800, 900, 1000, J                             33
         05/04/21      1000, 700                                                   143
18       05/05/21      1000, 400                                                   223
19       05/06/21      1000, 500, 800                                              173
         05/07/21      G, SEG                                                       54
20       05/10/21      L, J, 1000, Infirmary                                        77
21       05/12/21      J, 400, 800                                                 260
         05/13/21      600, 800                                                     48
22       05/14/21      1100, 1200, 500, J                                          203
         05/17/21      J                                                            31
23
         05/18/21      G, J                                                         33
24       05/19/21      1100, 1200                                                  108
         05/20/21      J                                                            25
25       05/21/21      D, F, J, L                                                  129
26
            1
27           In my deposition, I mistakenly testified that presently, CAFCC detainees are tested
     during intake and then cohorted for 8 days following admission. My misunderstanding of
28   the reported present operations is corrected here.

                                                  16
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 1                                                                       Number of
                                                                         Detainees
 2                                                                        Offered
         Date                   Location(s) / Housing Units               Vaccine
 3     05/24/21    1100, 600, F, G, SEG                                     29
 4     05/25/21    700, F                                                   51
       05/26/21    600, 900, Infirmary                                     135
 5     05/27/21    1100, 900, SEG                                           82
       05/28/21    1000, 1100, 1200, 400, 500, 700, 800, 900, D, F, J,      49
 6
                   SEG
 7     06/01/21    1100, 700                                                80
       06/02/21    400, 500, G, J                                           52
 8
       06/03/21    1000, 400, 500, 600                                      90
 9     06/04/21    1000, 500, 600, D, F, G, J, SEG                          70
       06/07/21    1000, 1200, 400, G, J                                    29
10     06/08/21    1000, 400, 600, 700, 800                                 39
11     06/09/21    1200, 400, 500, 900                                     113
       06/10/21    1000, 1100, 1200, 600, 700, 900, G                       51
12     06/11/21    J, L,                                                    71
13     06/14/21    J, 500, 400                                              18
       06/15/21    1100, 1200, 500, L                                       11
14     06/16/21    D                                                         0
       06/18/21    J, L, 1100, 1200, D, J, L, SEG                          153
15
       06/22/21    D                                                         0
16     06/24/21    D, 1000, 400, 600, 800, 900, J                           40
       06/25/21    900, D, G, J, SEG                                       108
17
       06/29/21    1000, 1100, 500, 700, 900, F, G, J, SEG                  67
18     06/30/21                                                             64
       07/02/21    1000, 500, 800, J                                       116
19     07/05/21    D, J                                                     34
20     07/06/21    1000, 500, 800, D, G                                     19
       07/07/21    F, J, L                                                  42
21     07/09/21    1000, 1100, 600, J, O                                   107
22     07/13/21    J, L, 400, SEG                                           70
       07/14/21    900, D, J                                                30
23     07/15/21    1000, 400, 700, 800, 900                                 22
       07/16/21    500, 600, D, G, J                                        60
24
       07/20/21    500, 800, 900, D                                         30
25     07/21/21    400, 600, 700, 900                                       13
       07/22/21    500, 800, 900, 1100                                      16
26
       07/23/21    F, J                                                     67
27     07/27/21    400, 700, D, J, L                                        25
       07/30/21    1000, 1100, 500, 600, 700, G, J                          76
28

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 1                                                                         Number of
                                                                           Detainees
 2                                                                          Offered
         Date                    Location(s) / Housing Units                Vaccine
 3     08/04/21    F, J, SEG                                                  28
 4     08/06/21    1000, 400, 500, 600, F, G, J                               63
       08/12/21    J                                                          29
 5     08/13/21    1000, 400, 500, 600, 700, J                                56
       08/16/21    D, G, J                                                    20
 6
       08/17/21    D, J                                                       31
 7     08/19/21    800, D, F, G, J, SEG                                       51
       08/27/21    1000, 1100, 400, 700, G, J                                 85
 8
       08/30/21    D, J                                                       32
 9     09/03/21    1000, 400, 500, 600, 70, 800, G, J                        147
       09/10/21    1000, 600, 800, J                                          44
10     09/17/21    D, G, J, L, SEG                                           145
11     09/24/21    1000, 500, 600, 700, D, J, SEG                            110
       09/27/21    1000, 1100, 400, 500, 700, 800, 900                       289
12     10/01/21    1000, 600, D, G, J, L, SEG                                103
13     10/08/21    1000, 1100, 400, 500, 600, 700, 800, 900, F, G, J         178
       10/14/21    1100, 900, G, J, SEG                                      148
14     10/19/21    G, J                                                       11
15     10/22/21    1100, J, SEG                                               86
       10/26/21    1000, 400, 500, 600, 700, 800, 900, F, L                   33
16     10/29/21    1100, 400, G, J, L                                        175
       11/12/21    Infirmary, medical isolation, 1100, 400, 600, 700,        294
17
                   800, 900, F, G, J, L
18     11/19/21    1100, 400, 600, 700, 800, 900, D, F, G, infirmary, J,     171
                   L, SEG
19     11/22/21    D, F, G, J                                                141
20     11/26/21    D, J, L                                                    92
       11/29/21    1000, 1100, 400, 900, infirmary, F, J, L                   10
21     12/03/21    1100, 500, 800, L, SEG                                     90
22     12/10/21    O, medical, 1000, 1100, 400, 500, 600, 800, 900, D,       231
                   F, G, J, L, SEG
23     12/15/21    400, 600, 700, D, L, SEG                                  133
       12/17/21    1100, 400, 500, 600, 900, D, F, G, J, SEG                  88
24
       12/22/21    O, medical, 1000, 1100, 400, 500, 600, 800, 900, F,        75
25                 L, SEG
       12/24/21    1100, G, J, L, SEG                                         97
26     12/31/21    O, medical, 1000, 1100, 400, 600, 800, F, G, ISO, J,      136
27                 L
       01/07/22    J, medical isolation, O, 1000, 1100, 400, 500, 600,        81
28

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 1                                                                                   Number of
                                                                                     Detainees
 2                                                                                    Offered
            Date                     Location(s) / Housing Units                      Vaccine
 3                      700, 800, 900, L, SEG
 4       01/14/22       Infirmary, 1000, 1100, 400, 500, 600, 700, 800, 900,             64
                        G, J, L, SEG
 5       02/07/22       1000, 400, 500, 600, 700                                         57
         02/08/22       400, 500, 600                                                    45
 6
 7          76.     As reflected above, more than 860 detainees per month, a total of 8,690

 8   detainees, were offered the COVID-19 vaccine in less than a year’s time. Importantly, it

 9   should be noted that it is proven and commonly understood information in the medical field

10   and in the community that a person who is fully vaccinated and has received COVID-19

11   boosters may still contract COVID-19.

12          77.     CAFCC also provides individual counseling for all detainees through the

13   normal operations sick call process. Any detainee can submit a sick call form requesting a

14   COVID-19 vaccine or to obtain education or evaluation for the same. This practice is

15   consistent with community standards.

16          78.     Free-world health clinics do not reach out to their high-risk patients to

17   schedule vaccination counseling sessions. Patients can seek that service if they so choose by

18   making an appointment to see a licensed health care provider. The distinction is that

19   vaccinations are therapeutic and preventative responses to COVID-19 – vaccinations are not

20   “treatment” in the traditional sense of the concept. Thus, it is not unreasonable either in the

21   free world or the correctional or detention setting to, after providing education, make it

22   incumbent upon the detainee population to request a vaccination or booster if so desired.

23   This is especially so where presently, it is reasonable to believe that any new admission

24   detainee has received education regarding COVID-19 in the community through media,

25   friends, and family regarding the availability of vaccinations and boosters if so individually

26   desired. The same would apply to any detainee incoming from another correctional system

27   considering we are now more than two years into the COVID-19 pandemic.

28          79.     Additionally, Dr. Venters asserts that CAFCC does not have a dedicated

                                                    19
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 1   health care employee assigned to improve vaccination rates among detainees and to
 2   determine the reasons why detainees are refusing. In discussion with HSA Rose and CHSA.
 3   Jaramillo, they indicated that the entire health care team is dedicated to improving
 4   vaccination rates.
 5          80.       This is consistent with my experience with TDCJ and most correctional or
 6   detention health care facilities which I have visited. Unfortunately, correctional and
 7   detention health care facilities have limited resources not unlike the community. It is not
 8   feasible to assign an individual who is solely dedicated to vaccination compliance. Normal
 9   health care operations much continue against the backdrop of COVID-19 response
10   operations.
11          81.       The community has the same challenges with vaccine compliance and my
12   experience is that community health care providers are not implementing what Dr. Venters
13   is suggesting.
14          82.       The CAFCC health care team has determined that the reasons detainees are
15   refusing vaccination are the same as those who are unvaccinated in the community such as:
16                 • It hasn’t been around long enough.
17                 • People who get vaccinated get sick.
18                 • I have already had a COVID-19 infection.
19                 • I am concerned about side effects.
20                 • I am still doing my research.
21          83.       Through town hall meetings, written information, vaccine clinics, and
22   counseling, CAFCC is making every reasonable and positive effort to change the dynamic
23   on vaccination within the detainee population.
24          84.       Dr. Venters suggests that CAFCC should assume responsibility for
25   scheduling boosters for all applicable detainees rather than providing the service upon
26   request. Again, the practice utilized by CAFCC is consistent with the community. CAFCC
27   patients are made aware of their eligibility for a booster and are allowed to make their own
28   health care decision regarding additional vaccine/booster doses.

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 1          85.     Additionally, with the average length of stay in CAFCC being less than 120
 2   days, the logistics and time required to track booster eligibility for the rapidly changing
 3   detainee population is unreasonable.
 4          86.     Dr. Venters opines that CAFCC should track vaccine dates on every detainee
 5   and verify those dates in the Arizona State Immunization Information System (ASIIS). In
 6   theory, Dr. Venters’ suggestion is within reason. However, CHSA Jaramillo informed me
 7   that the majority of CAFCC patients are from other states and countries. Consequently, their
 8   vaccination histories are not stored in ASIIS. Upon intake, CAFCC makes every effort to
 9   obtain a vaccination history from each patient and relies on that information to provide
10   appropriate vaccination guidance.
11          87.     Dr. Venters recommends expansion of vaccination, symptom screening, and
12   testing to compensate for the challenges inherent to contract tracing. Dr. Venters provides
13   no detail or additional information to support this recommendation. According to CAFCC
14   staff, Dr. Venters’ suggested activities have been performed throughout the entirety of the
15   pandemic.
16          88.     Dr. Venters recommends that CAFCC offer Pfizer, Moderna, and Johnson &
17   Johnson vaccines. Currently, CAFCC receives its vaccine supply from the Pinal County
18   Public Health Department (PCPHD). It is PCPHD that determines which vaccines will be
19   made available for use by CAFCC. At present, the County is providing CAFCC with the
20   Moderna vaccine; CAFCC is no longer utilizing the Johnson & Johnson product. CAFCC
21   does not have the ability to decide which vaccine product it will utilize.
22          89.     Dr. Venters recommends the use of all three vaccines, which in his opinion
23   will improve vaccine rates. However, Dr. Venters provides no data to support his belief that
24   offering all three vaccines improves acceptance. Dr. Venters does not provide a list of
25   correctional facilities that are currently providing all three vaccines.
26          90.     In my experience both in Texas and in other parts of the country, most
27   correctional systems utilize one vaccine as their primary agent. For instance, TDCJ utilizes
28   the Moderna vaccine due to the need for ultra-cold refrigeration for the safe storage of the

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 1   Pfizer product.
 2          91.     Dr. Venters recommends that CAFCC improve their vaccination educational
 3   materials and ensure that they reflect that most updated information. In fact, CAFCC does
 4   provide written vaccination information to all detainees.
 5          92.     As mentioned previously, extensive vaccine information is made available
 6   whenever detainees utilize tablets in the facility. Detainees may not proceed with use of the
 7   tablet until they have acknowledged that they have been made aware of the vaccination and
 8   booster information. On the day of my inspection, every unit had posted up-to-date CDC
 9   vaccination and booster information in English and Spanish.
10          93.     Dr. Venters recommends that staff vaccination rates be increased. CAFCC
11   has taken all reasonable efforts to increase staff vaccination rates. The staff vaccination rate
12   as of the date of my tour of CAFCC was reported to be 80%.
13          94.     On December 6, 2020, CAFCC initially offered vaccines to all staff before
14   making it available to detainees.
15          95.     To encourage vaccine acceptance, CAFCC hosted a steak cookout which
16   incorporated a town hall educational program. CAFCC did consider vaccine mandates;
17   however, like most correctional facilities and systems, the reality of significant staff
18   vacancies if vaccination was made mandatory guided against its adoption.
19          96.     Dr. Venters recommends that the vaccination status of every person be
20   reviewed at intake (using ASIIS) with priority for all high-risk patients and for any who
21   remain unvaccinated or incompletely vaccinated. Through their Allscripts electronic health
22   record, CAFCC is able to identify all high-risk detainees by specific COVID-19 risk factor
23   (e.g., obesity, asthma, age). CAFCC can run high-risk patient reports as necessary.
24          97.     Additionally, all nursing staff and providers are aware of any pertinent
25   COVID-19 risk factors when evaluating patients presenting to be seen. They incorporate the
26   risk associated with these other conditions as they determine COVID-19 testing, treatment,
27   and housing.
28          98.     While Allscripts cannot run a “COVID-19 risk factor” report per-se, I am

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 1   unaware of correctional systems who can run such a report. However, where Allscripts can
 2   run reports to select detainees with certain medical conditions to include the various COVID-
 3   19 risk factors, CAFCC health care staff are able to determine which detainees in the
 4   population have COVID-19 risk factors.
 5          99.    Neither the CDC Interim Guidance nor other medical authorities of which I
 6   am aware require correctional and detention facilities to run daily “COVID-19 risk” reports
 7   and maintain such reports in paper form, to be updated daily. The suggestion that the same
 8   is required escapes me where Allscripts can run reports identifying detainees with specified
 9   risk factors at any time, and this was demonstrated to me during my tour. Moreover, it
10   cannot go unnoted that health care providers treat the individual patient presenting to them
11   versus providing treatment based upon presence on a list.
12          100.   Dr. Venters postulates that many detainees remain unvaccinated because they
13   have questions or concerns that are not being addressed in a large-scale town hall meeting.
14   Dr. Venters does not provide any data or study that supports his assertion. He does not
15   elaborate on what questions or concerns detainees might have that are not covered in a public
16   forum. Dr. Venters does not address the fact that all detainees can access one-on-one
17   vaccination counseling through the sick call process and can be seen within 24 hours.
18          101.   Further, Dr. Venters does not address that, given the fact that COVID-19
19   vaccines have been present since late 2020, most people, including detainees, are aware of
20   the strengths and weaknesses of vaccination and have come to their own decision about their
21   personal health and well-being.
22          102.    Dr. Venters suggests that CAFCC should provide daily vital signs and
23   symptom checks by nursing to all detainees in either an intake or exposure quarantine. In
24   fact, CAFCC does provide daily symptom and temperature checks to detainees in an
25   exposure quarantine. These checks are done by trained correctional officers rather than by
26   nursing staff. CDC does not stipulate which type of credentials are required by staff
27   performing the temperature and symptom checks.
28          103.   Furthermore, HSA Jaramillo indicated that the officers receive specialized

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 1   training on how to perform temperature and symptom checks. The officer who performed
 2   our screening before entering the facility, corroborated HSA Jaramillo’s statement and
 3   confirmed that he had been provided the specialized training. The lobby officer also stated
 4   that he is confident in his ability to properly perform these functions and does not feel that
 5   he is being asked to work outside his comfort level.
 6          104.    In my experience most temperature and symptom checks can be done
 7   adequately by security and non-medical personnel, just like most adults can do for
 8   themselves or their family. CAFCC nursing staff makes rounds in all quarantine units
 9   multiple times a day and can be accessed by any detainee during those rounds. Additionally,
10   if a detainee feels they are having any type of symptom, they can notify the unit officer who
11   will contact the CAFCC medical department for a disposition.
12          105.    Dr. Venters suggests that CAFCC create a specific COVID-19 nursing
13   evaluation form which would include whether the patient has any high-risk COVID-19
14   comorbidities and modifications to any care plan based upon those high-risk conditions.
15          106.    This has been a long-standing recommendation of Dr. Venters which I have
16   encountered in previous litigation. At present, creating a specific COVID-19 charting tool is
17   not a current CDC mandate. However, CDC does recommend that patients with high-risk
18   comorbidities for a poor outcome associated with a COVID-19 infection are taken into
19   consideration by nursing and provider staff.
20          107.    This recommendation is being followed by the CAFCC health care staff. HSA
21   Rose was emphatic when explaining that the entire CAFCC health care team understands
22   the risk factors for a poor outcome associated with a COVID-19 infection and takes all
23   measures necessary to ensure that patients with those conditions are afforded additional
24   safeguards such as being provided medical housing, more frequent vital sign monitoring,
25   and additional nursing and provider encounters.
26          108.    Dr. Venters recommends that a list of high-risk patients be kept. As stated
27   earlier, CAFCC can utilize Allscripts to produce a report that identifies all patients with a
28   COVID-19 risk factor.

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 1          109.    Dr. Venters’ recommendation that all detainees be provided with surgical or
 2   KN95 masks and replaced weekly; and that when two or more cases have been detected
 3   among detainees or staff in a 14 day period that KN95 masks are mandated for all staff and
 4   detainee instead of surgical masks is not supported by CDC, which allows for the use of
 5   cloth, surgical, and KN95 or N95 masks. CAFCC provides both surgical and cloth masks to
 6   all detainees which is in accordance with CDC Interim Guidance.
 7          110.    Dr. Venters recommends that CAFCC should increase the testing it performs
 8   in intake cohorts and provide at least two tests during the cohort period. This is not mandated
 9   by current CDC Interim Guidance. CAFCC currently tests all new admission detainees as
10   well as those that have COVID-19 symptoms. This practice is consistent with the CDC’s
11   updated May 3, 2022 Interim Guidance.
12          111.    Dr. Venters’ recommendation to provide a routine release quarantine was
13   discussed with CHSA Jaramillo, HSA Rose, and Assistant Warden Wallace on the day of
14   the tour. Approximately 95% of CAFCC detainees are transferred to another correctional
15   facility and are provided COVID-19 testing prior to the transfer. Approximately half of the
16   remaining 5% (approximately 2.5%) are released on a B&B (Bag and Baggage), which does
17   not take place immediately, and CAFCC is able to provide COVID-19 testing prior to their
18   release. The remaining 2.5% of the population is released immediately from court where the
19   logistics of pre-release testing is not possible. However, each of these individuals who have
20   gone to court and are directly released during a court hearing would have had a COVID-19
21   test performed before being transported to attend court on that day, which essentially
22   becomes a pre-release COVID-19 test.
23          112.    CAFCC has considered the creation of a pre-release quarantine unit however
24   the logistics associated with the timing of the various detainees’ releases is not conducive to
25   such a unit where CAFCC is not necessarily advised of an anticipated release in enough time
26   to perform a quarantine before release. And, CAFCC cannot hold a detainee over beyond
27   their release date to perform a pre-release quarantine period.
28          113.    Detainees who are released to the community from a quarantine unit are

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 1   provided information regarding their COVID-19 status and the safeguarding steps they
 2   should follow.
 3          114.      As to contact tracing, CAFCC provides contact tracing for positive staff
 4   members to the extent possible. Early in the pandemic, CAFCC attempted to review facility
 5   camera footage to ascertain with whom a positive staff member might have had a CDC-
 6   defined contact. However, given the immense size of the facility, it was not logistically
 7   feasible to review the volume of camera footage.
 8          115.      Through its COVID-19 mitigation plan, CAFCC attempts to reduce the
 9   opportunity for COVID-19 positive staff members to enter the facility. To that end, all staff
10   are temperature and symptom checked before entering the facility. If they answer
11   affirmatively to any symptom-based question, they are not allowed entrance to the facility
12   and are referred to their primary care physician. All CoreCivic staff have been educated to
13   stay at home if they have any COVID-19 symptoms or if they have come into contact with
14   a known COVID-19 positive individual.
15          116.      In summary, I opine that Dr. Venters’ methodology and recommendations are
16   fundamentally flawed due to the fact that he never toured CAFCC prior to writing his report.
17          117.      He did not communicate with CAFCC staff, nor did he speak with CAFCC
18   detainees.
19          118.      Instead, he relied solely on documentation and secondhand information
20   supplied to him by Dr. Todd Wilcox and the plaintiffs’ attorney, Mr. Jared Keenan.
21          119.      I am familiar with several COVID-19-related expert witness reports written
22   by Dr. Venters over the course of the pandemic. In those reports, visitation of the identified
23   facility was usually at the center of his methodology. In the matter of CAFCC, however, Dr.
24   Venters failed to exercise any due diligence to tour the facility and observe COVID-19
25   response operations.
26          120.      Regarding Dr. Venters’ recommendations, most are already being done.
27          121.      CAFCC has switched from using the J&J vaccine to Moderna.
28          122.      CAFCC routinely holds town hall meetings to promote vaccine acceptance

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 1   amongst the detainee population.
 2           123.   CAFCC provides written and verbal vaccination education in both English
 3   and Spanish. Most recently, CAFCC has added vaccination information to the home screen
 4   of the detainees’ tablets which requires the detainee’s acknowledgement before they are able
 5   to access the tablet’s content.
 6           124.   CAFCC provides COVID-19 testing for most detainees when they leave the
 7   facility.
 8           125.   CAFCC tests all detainees upon admission to the facility.
 9           126.   CAFCC has the ability to obtain the now widely available COVID-19
10   medications Paxlovid and Molnupiravir through local pharmacy services.
11           127.   CAFCC has been tracking all vaccination statistics since they began
12   vaccinations in 2021 and have always been able to produce the percentage of vaccinated
13   detainees.
14           128.   CAFCC has made all reasonable efforts to encourage staff vaccination while
15   maintaining a viable workforce.
16           129.   CAFCC, through its Allscripts electronic health record, can produce a list of
17   all patients who have a high-risk condition associated with a poor outcome due to a COVID-
18   19 infection. CAFCC nurses and providers utilize this information when evaluating any
19   patient who presents with a potential COVID-19 infection.
20           130.   High-risk patients being evaluated for a COVID-19 infection are provided
21   additional safeguards to include medical housing and more frequent health care encounters.
22           131.   CAFCC provides cloth as well as surgical masks to all detainees and replaces
23   them as needed or requested by the detainee.
24           132.   Since the CDC’s Interim Guidance was promulgated in response to the
25   COVID-19 pandemic, CAFCC has largely implemented, and continues to actively
26   implement, the CDC’s recommendations and best practices pertaining to operational
27   preparedness, prevention, and management as is feasible based upon the resources available
28   as well as operational capabilities.

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 1          133.    The CDC’s guidance and recommendations are intended to mitigate, not
 2   eliminate, the risk of COVID-19. Correctional and detention facilities, as consistent with the
 3   community, will have to address sporadic episodes of COVID-19 infections despite the best
 4   mitigation efforts. CAFCC has demonstrated the ability to manage these sporadic events
 5   when they arise. CAFCC has sufficient COVID-19 testing, medical resources, cohort and
 6   isolation space, and staffing to provide appropriate assessment, care, and mitigation
 7   strategies.
 8          134.    CAFCC has had two detainee deaths attributed to COVID-19 since the
 9   inception of the pandemic. As of the date of my report (April 20, 2022), the CAFCC COVID-
10   19 mortality rate is 0.15% (2/1332), significantly less than the U.S. rate of 1.2%
11   (991,000/81,200,000), Arizona state rate of 1.5% (29,951/2,020,000), and Pinal County rate
12   of 1.25% (1,651/132,000), reflecting a competent COVID-19 mitigation and health care
13   program. This also contradicts any claim that detainees are more likely to have an adverse
14   outcome from a COVID-19 infection while in CAFCC custody.
15          135.    It is my opinion that, for the most part, CAFCC has successfully implemented
16   CDC’s Interim Guidance for Jails and Detention Facilities. In the few areas where they have
17   not fully implemented the guidelines, CAFCC has done so based on a reasoned balancing of
18   risk and available resources.
19          136.    CAFCC has also clearly demonstrated an organizational commitment to
20   modifying these practices as further information is learned and additional guidance is
21   developed. I recommend the continued implementation of the precautions already in place
22   at the facility. I do not believe that the additional recommendations by Dr. Venters are
23   supported by CDC or would provide a meaningful difference in clinical outcomes.
24          137.    In my view, the health care and security staff at CAFCC operate with a high
25   degree of professionalism and integrity, and the clinical outcomes for the patients in their
26   charge reflect that commitment to excellence.
27   ///
28   ///

                                                     28
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        ATTACHMENT A
    TO DECLARATION OF
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                                  CURRICULUM VITAE


 NAME: Owen J. Murray, D.O., MBA

 PRESENT POSITION AND ADDRESS:

     07/2009 - Present      Vice President, Offender Health Services
                            Correctional Managed Care
                            University of Texas Medical Branch at Galveston
                            301 University Boulevard
                            Galveston, Texas 77555-1008

 BIOGRAPHICAL:
                            Office Phone: 936-494-4170
                            Cell Phone:
                            Email: ojmurray@utmb.edu

 EDUCATION:

     9/1979 – 5/1983        B.S. (Biology), Boston College, Chestnut Hill, Massachusetts

     8/1984 – 6/1988        D.O., Chicago College of Osteopathic Medicine, Chicago, Illinois

     7/1988 – 6/1989        Internship (Osteopathy), Chicago Osteopathic Hospital, Chicago,
                            Illinois

     7/1989 – 6/1991        Residency (Family Practice), Borgess Medical Center, Michigan
                            State University Kalamazoo Center for Medical Studies,
                            Kalamazoo, Michigan

     8/1997 – 8/1999        MBA, University of Houston–Clear Lake, Houston, Texas

 BOARD CERTIFICATION:

     American Board of Family Medicine, July 12, 1991–present

     Certified Correctional Health Professional (National Commission on Correctional Health
     Care), 1996–2000

 LICENSURE INFORMATION:

     Texas Medical Board: License no. J8070 (Expiration date: 08/31/2021)


 PROFESSIONAL WORK HISTORY AND TEACHING EXPERIENCE:




                                                                        CORECIVIC-MLG003628
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     1983–1984          Postgraduate Research Assistant (Molecular Biology)
                        Northwestern University, Chicago, Illinois

     1989–1991          Emergency Department Physician
                        Pipp Community Hospital, Plainwell, Michigan

     1989–1991          Coverage Physician
                        Kalamazoo Neuro Imaging, Kalamazoo, Michigan

     1991–1992          Division Physician
                        Cook County Department of Corrections, Chicago, Illinois

     1992–1993          Medical Director
                        Pontiac Correctional Center, Illinois Department of Corrections,
                        Pontiac, Illinois

     1991–1995          Medical Director
                        Western Illinois Correctional Center, Illinois Department of
                        Corrections, Mt. Sterling, Illinois

     1993–1994          Medical Director
                        Robinson Correctional Center, Illinois Department of Corrections,
                        Robinson, Illinois

     1995–2005          Medical Director
                        Correctional Managed Care, University of Texas Medical Branch
                        at Galveston

     1996–2001          Instructor in Institutional and Correctional Health
                        Department of Preventive Medicine and Community Health
                        University of Texas Medical Branch at Galveston

     2001–present       Assistant Professor (N-T Trk Clin)
                        Department of Preventive Medicine and Community Health
                        University of Texas Medical Branch at Galveston

     2005–2009          Executive Director for Clinical Services & Chief Physician
                        Executive, Correctional Managed Care
                        University of Texas Medical Branch at Galveston

     2009–present       Vice President, Offender Health Services
                        Correctional Managed Care, University of Texas Medical Branch
                        at Galveston

RESEARCH ACTIVITIES:

Owen J. Murray, D.O.                                                              2




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    A. Major Research Interests

            •   Medical and psychiatric disorders in the correctional setting
            •   Correctional health care utilization and delivery

    B. Extramural Funding

            2006                  Genzyme. CMC Operations. “SYNVISC Joint Injection
                                  Teaching.” Project Director.

            2012–2013             Texas Department of State Health Services/HRSA Subcontract.
                                  CMC Operations. “Texas DSHS Contract for Discharge
                                  Planning.” Project Director, $120,000.00/1yr.

COMMITTEE RESPONSIBILITIES:

     1996                      Committee to Revise Standards, National Commission on
                               Correctional Health Care

     1996–2001                 UTMB-CMC Utilization Review Committee

     1996–1998                 Chairman, UTMB-CMC Pharmacy & Therapeutics Committee

     1996–2008                 Chairman, UTMB-CMC Physician Peer Review Committee

     1997–1999                 UTMB Telemedicine Committee

     1997–1998                 Work Group on HIV/AIDS Education Programs (UTMB)

     2002–2005                 Chairman, UTMB-CMC System Leadership Council
     2009–2011

     2010–present              UTMB Strategic Executive Council

     2014–2015                 UTMB 340B Compliance Committee

     2015–2017                 Steering Committee, UTMB Training Council

OTHER PROFESSIONAL ACTIVITIES:

     Consultant, Cermak Health Services of Cook County Survey, National Commission on
     Correctional Health Care, Chicago, IL, January 1997.

     Member, Focus Group on Prison Health Care, National Institute of Corrections, U.S.
     Department of Justice, Washington, DC, August 1997.

Owen J. Murray, D.O.                                                                    3




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     Consultant, HIV Education Behind Bars, Meeting the Challenges in the Year 2000. World
     Health Direct, November 1999

     Course Director and Moderator, Managing HIV in the Correctional Setting [Series of CME-
     Accredited Conference Calls], World Health Direct, Ft. Lauderdale, FL, November 1999.

     Consultant, J Allen Correctional Healthcare Management, LLC, 2013–present.

     Elected to seat on American Correctional Association Commission on Accreditation for
     Corrections (Health Care) 2017–2021

MEMBERSHIP IN SCIENTIFIC SOCIETIES/PROFESSIONAL ORGANIZATIONS:

     American Academy of Family Physicians

     American Correctional Association

     Texas Osteopathic Medical Association

HONORS:

     Chief Resident, Family Practice Residency, Michigan State University Kalamazoo Center
     for Medical Studies, Borgess Medical Center (1990–1991)

     Resident Director of Recruiting, Family Practice Residency, Michigan State University
     Kalamazoo Center for Medical Studies, Borgess Medical Center (1989–1991)

     Illinois Department of Public Health Medical Student Scholarship, Chicago College of
     Osteopathic Medicine (1986–1989)

PUBLISHED:

A.   Articles in Peer-Reviewed Journals

      1.    Baillargeon J, Contreras S, Grady JJ, Black SA, Murray O. Compliance with
            antidepressant medication among prison inmates with depressive disorders.
            Psychiatric Services 51:1444–1446; 2000.
      2.    Baillargeon J, Ducate S, Pulvino J, Bradshaw P, Murray O, Olvera R. The
            association of psychiatric disorders and HIV infection in the correctional setting.
            Annals of Epidemiology 13:606–612; 2003.
      3.    Baillargeon J, Black SA, Leach CT, Jenson H, Pulvino J, Bradshaw P, Murray O.
            The infectious disease profile of Texas prison inmates. Preventive Medicine 38:607–
            612; 2004.



Owen J. Murray, D.O.                                                                       4




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      4.    Baillargeon J, Soloway RD, Paar D, Giordano TP, Murray O, Grady J, Williams B,
            Pulvino JS, Raimer BG. End-stage liver disease in a state prison population. Annals
            of Epidemiology 17:808–813; 2007.
      5.    Baillargeon J, Paar DP, Wu ZH, Giordano TP, Murray OJ, Raimer BG, Avery EN,
            Diamond PM, Pulvino JS. Psychiatric disorders, HIV infection, and HIV/hepatitis co-
            infection in the correctional setting. AIDS Care 20:124–129; 2008.
      6.    Baillargeon J, Thomas CR, Williams B, Begley CE, Sharma S, Pollock BH, Murray
            OJ, Pulvino JS, Raimer B. Medical emergency department utilization patterns among
            uninsured patients with psychiatric disorders. Psychiatric Services 59:808–811; 2008.
      7.    Murray OJ. Assessing demand for wheelchair use. Virtual Mentor 10:84–87; 2008.
      8.    Harzke AJ, Baillargeon J, Paar DP, Pulvino J, Murray OJ. Chronic liver disease
            mortality among male prison inmates in Texas, 1989–2003. American Journal of
            Gastroenterology 104:1414–1419; 2009.
      9.    Baillargeon J, Penn JV, Thomas CR, Temple JR, Baillargeon G, Murray OJ.
            Psychiatric disorders and suicide in the nation’s largest state prison system. Journal
            of the American Academy of Psychiatry and the Law 37:188–193; 2009.
      10.   Baillargeon J, Binswanger IA, Penn JV, Williams BA, Murray OJ. Psychiatric
            disorders and repeat incarcerations: The revolving prison door. American Journal of
            Psychiatry 166:103–109; 2009.
      11.   Raimer BG, Murray OJ, Pulvino JS. Health care in the Texas prison system: A
            looming fiscal crisis. Texas Public Health Journal 62(4):12–17; 2010.
      12.   Schneider BC, Harzke AJ, Ivanitskaya L, Murray OJ. Prioritization of inpatient
            hospital services to prisoners: A method for justifying care and costs. Journal of
            Health Care for the Poor and Underserved 25:863–876; 2014

B.   Other Publications

      1.    Murray OJ. Hurricane Rita leaves lessons in its wake [Guest Editorial]. CorrectCare
            20(1):3; 2006.
      2.    Murray OJ, Pulvino J, Baillargeon J, Paar D, Raimer BG. Managing hepatitis C in
            our prisons: Promises and challenges. CorrectCare 21(2):1, 16–17; 2007.
      3.    Murray OJ, Pulvino J, Baillargeon J, Paar D, Raimer BG. Treating all prisoners with
            hepatitis C may not be feasible. In: Langwith J, ed. Hepatitis: Perspectives on
            Diseases and Disorders. Farmington Hills, MI: Greenhaven Press; 2009: pp. 74–81.

C.   Abstracts

      1.    Li H, Dang M, Johnson CW, Appel DJ, Pulvino JS, Murray OJ, Johnson L, Chao
            GC, Calhoun JH, Clements LM, Raimer BG. Evaluation of preferences and attitudes
            toward telemedicine evaluation of diabetic retinopathy. Telemedicine Journal and e-
            Health 7(2):147; 2001.


Owen J. Murray, D.O.                                                                       5




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      2.    Li HK, Dang M, Uwaydat S, Horna J, Appel DJ, Pulvino JS, Murray OJ, Johnson L,
            Chao GC, Clements LM, Raimer BG. Operational challenges and outcomes of store-
            and-forward telemedicine evaluation of diabetic retinopathy in a prison health care
            system. Telemedicine Journal and e-Health 7(2):182; 2001.
      3.    Baillargeon J, Murray O, Pulvino J. Applying epidemiologic methods to the study of
            Texas prison inmates. Abstracts of the National Symposium on Correctional Health
            Care, Houston, Texas, September 2002.
      4.    Baillargeon J, Ducate S, Murray O, Pulvino, J. The association of HIV infection and
            psychiatric disorders among Texas prison inmates. Abstracts of the National
            Symposium on Correctional Health Care, Houston, Texas, September 2002.
      5.    Garza−Gutierrez G, Sharma G, Cardenas V, Baillargeon G, Murray O, Williams B,
            Baillargeon J. Use of intensive care at the end of life among a state prison population.
            American Journal of Respiratory and Critical Care Medicine 179:2009; A5226.
      6.    Raimer B, Murray O. Health care in the Texas prison system: A looming fiscal
            crisis. Proceedings of the 4th Academic and Health Policy Conference on
            Correctional Health, Boston, Massachusetts, March 10–11, 2011.
      7.    Tong EK, Zepeda SD, Gonzalez J, Sandmann RM, Fisher DR, Murray O, Khan J.
            Effectiveness of switching virologically suppressed HIV-infected patients from
            emtricitabine and emtricitabine-containing products to lamivudine. Presented at the
            Alcalde XXVII Southwestern Leadership Conference, San Marcos, Texas, April 24–
            25, 2013.

INVITED PRESENTATIONS:

     Comprehensive correctional pharmaceutical program. 1st Annual Health Care Education
     Program for Pharmaceutical Companies, Houston, Texas, November 1995

     Correctional managed health care. 19th National Conference on Correctional Health Care,
     Washington, DC, November 13–15, 1995.

     Fast food mentality in a managed care world. American Correctional Health Services
     Association Multidisciplinary Training Conference, Houston, Texas, February 1996.

     Correctional managed health care. 21st National Conference on Correctional Health Care,
     San Antonio, Texas, November 10–12, 1997.

     Primary approach to managing depression in a correctional environment. Prime Works
     Symposium, Houston, Texas, January 1998.

     Correctional managed health care. 22nd National Conference on Correctional Health Care,
     Long Beach, California, November 2–4, 1998.

     Improving care and lowering cost in a correctional medical facility. American Correctional
     Association Winter Conference, San Antonio, Texas, January 19–21, 1998.

Owen J. Murray, D.O.                                                                       6




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     CyberCare: The virtual physician’s office. The National Healthcare Congress, Miami,
     Florida, November 6, 1999.

     CyberCare: The correctional medical delivery systems of the future. 23rd National
     Conference on Correctional Health Care, Fort Lauderdale, Florida, November 8–10, 1999.

     HIV care in the Texas Department of Criminal Justice. Texas/Oklahoma AIDS Education
     and Training Center (AETC) HIV Conference, Austin, Texas, October 2003.

     Chronic care/disease case management. American Correctional Health Services Association
     Multidisciplinary Training Conference, Houston, Texas, March 25–28, 2004.

     HIV care in the Texas Department of Criminal Justice. Texas Department of State Health
     Services 14th Texas HIV-STD Conference, Austin, Texas, December 13–17, 2004.

     Addressing end stage liver disease. Hepatitis Summit (Sponsors: Texas Board of Criminal
     Justice & Correctional Managed Health Care Committee), Houston, Texas, September 7,
     2006.

     Texas Department of Criminal Justice healthcare and HIV programs. Department of State
     Health Services HIV/STD Program 15th Texas HIV-STD Conference, Austin, Texas,
     December 11–15, 2006.

     Correctional health: Disaster management preparedness [moderator & speaker]. American
     Correctional Association 2007 Winter Conference, Tampa, Florida, January 20–24, 2007.

     Developing a critical incident medical plan - from the healthcare administrator’s
     perspective [moderator]. American Correctional Association 2007 Winter Conference,
     Tampa, Florida, January 20–24, 2007.

     In omnia paratus—“Ready for anything” [moderator]. American Correctional Association
     2007 Summer Conference, Kansas City, Missouri, August 11–15, 2007.

     Cracks: Finding and fixing unintended and unfortunate places our patients fall. National
     Conference on Correctional Health Care. Chicago, Illinois, October 18–22, 2008.

     Telemedicine: Not just a subspecialty tool [with Stephen R. Smock and Glenn Hammack].
     National Commission on Correctional Health Care Updates in Correctional Health Care
     Conference, San Antonio, TX, May 19–22, 2012.

     Life in the big house: A look at medicine behind bars. UTMB Healthy Health Policy Lunch
     & Lecture Series, Galveston, TX, November 28, 2012.

     Cost savings and care innovations for prisoner health [with Matt McKillop and Aaron
     Edwards]. National Conference of State Legislatures Webinar, November 1, 2013.

Owen J. Murray, D.O.                                                                    7




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     Telehealth innovations–Transforming medical practice models [panel discussion with Kirk
     Gillis and Monica Fernandez]. American Osteopathic Association of Medical Informatics
     Conference, Seattle, WA, October 26, 2014.

     Tele-Health: Pioneering new models for care [moderator]. American Correctional
     Association 146th Congress of Correction, Boston, MA, August 6, 2016.

INVITED TESTIMONY

     UTMB Correctional Managed Care [joint presentation with William R. Elger]. Texas
     Senate Committee on Finance, Austin, TX, February 21, 2011.

     House Bill 25, correctional health care cost containment. Texas House of Representatives
     Corrections Committee, Austin, TX, June 7, 2011.

     UTMB Correctional Managed Care update. Texas Senate Committee on Finance, Austin,
     TX, July 9, 2012.

     Correctional Managed Health Care system. Texas House of Representatives Appropriations
     Subcommittee on Articles I, IV & V. Austin, TX, August 24, 2012.

     House Bill 512, relating to the eligibility of certain inmates for release on medically
     recommended intensive supervision. Texas House Corrections Committee, Austin, TX,
     March 13, 2013.

     Correctional Managed Health Care population and cost trends. Texas House of
     Representatives Appropriations Subcommittee on Articles I, IV & V and House Corrections
     Committee Joint Hearing, Austin, TX, May 29, 2014.

     Telemedicine in Correctional Managed Care & the UT System Virtual Health Network.
     Senate Committee on Health & Human Services, Austin, TX, June 16, 2016.

LITIGATION

Vice President UTMB CMC Cases: Deposed

 1. McCollum v. Livingston U.S.D.C. (S.D. Texas), Case No. 4:14-cv-03253; 2017 U.S. Dist.
    LEXIS 19602 2018
 2. Roppollo v. Linthicum U.S.D.C. (S.D. Tex.), Case No. 2:19-cv-00262
 3. Kazee, Inc. v Callender CIVIL ACTION NO. 4:19-CV-31-SDJ

Expert Witness Cases: Deposed
 4. Ashker v. Brown 4:09-cv-05796 (N.D. Cal.) 2018
 5. Lippert v. Ghosh, U.S.D.C. (N.D. Ill.), Case No. 1:10-cv-04603; 2017 U.S. Dist. LEXIS 646
 6. Kelvin Hernandez Roman, et al., v Chad F. Wolf, et al Case No. 5:20-cv-00768


Owen J. Murray, D.O.                                                                   8




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 7. Patrick Gayle, et al., v. Michael W. Meade et al. Case No. 20-21553-Civ-
    COOKE/GOODMAN
 8. Victor Antonio Parsons v. Charles L. Ryan No. 18-16358


General Expert Witness Litigation Work

 9. Plata v. Newsom No. 4:01-cv-01351-JST
 10. Estate of Gerardo Cruz-Sanchez v. United States of America Case No. 17-cv-569-AJB-NLS
 11. Jeremy Laintz v. Correctional Health Partners LLC, et al. Civil Action No. 18-cv-02122-
     RM-STV
 12. Ray Carpenter Jr. v. CoreCivic of Tennessee LLC. CV-19-16-GF-BMM
 13. Aristoteles Sanchez Martinez, et al., v. Michael Donahue Case No. 7:20-cv-00062 CDL-
     MSH
 14. Kelvin Hernandez Roman, et al., v. Chad F. Wolf et al. Case No. 5:20-cv-00768
 15. Veenaben Dhirubhai Patel, et al., v. William P. Barr et al. Case No. CV-20-00709-PHX-
     DLR
 16. Janet Malam, v. Rebecca Adducci, et al. Civil No. 20-10829
 17. United States of America v. Miami Dade County Case No. 13-21570-CIV ZLOCH
 18. NAACP v. Cooper, No. 20 CVS 500110
 19. Favian Busby, et al. V. Floyd Bonner Jr. et al. Case No. 2:20-cv-02359




Owen J. Murray, D.O.                                                                9




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         ATTACHMENT B
    TO DECLARATION OF
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        ATTACHMENT C
    TO DECLARATION OF
    OWEN MURRAY, D.O.
 Updates to CDC COVID-19 Guidance for Correctional and Detention
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 Facilities
May 19, 2022
Liesl Hagan, MPH
Senior Scientist for Correctional Health
Office of the Deputy Director for Infectious
Diseases
Centers for Disease Control and Prevention
This interim guidance is based on what is currently known about the transmission
and severity of coronavirus disease 2019 (COVID-19) as of May 19, 2022.

The US Centers for Disease Control and Prevention (CDC) will update this
guidance as needed and as additional information becomes available. Please
check the CDC website periodically for updated interim guidance.



                                                                                cdc.gov/coronavirus
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Overview

   1) Current COVID-19 context and Community Levels (general
      public)
   2) Updates to corrections-specific guidance (posted May 3,
      2022)
      o New categorization of prevention strategies: “Everyday”
         vs. “Enhanced”
      o Risk assessment framework to shift between them
      o Modified quarantine approaches
      o Assorted technical content updates
   3) Q&A
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Current COVID-19 Context

 Daily Trends in Number of COVID-19 Cases
   in the United States Reported to CDC
                                                                        Cases increasing
                                                                        Hospitalizations increasing
                                                                        Deaths still decreasing
                                                                        Hot spots in the Northeast
                                                                         and upper-Midwest

   As of May 19, 2022
   https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html
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Overall CDC Shift from Limiting the Spread of COVID-19 to
Minimizing Severe Disease (1 of 2)

 Current high level of population immunity – reduces the risk of severe
  outcomes
 Recent variants have been associated with milder disease
 Tools are available to prevent severe health outcomes for people who
  are infected
    • Broad availability of vaccines, treatments




   https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html
Overall CDC Shift from Limiting the Spread of COVID-19 to
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Minimizing Severe Disease (2 of 2)

  Prevention strategies should focus on minimizing the
   effect of severe COVID-19 illness on health and society
     • Preventing medically significant illness
     • Minimizing burden on the healthcare system
     • Protecting the most vulnerable through vaccines,
        treatment, and enhanced COVID-19 prevention
        strategies


    Science Brief: Indicators for Monitoring COVID-19 Community Levels and Making Public Health
    Recommendations
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CDC COVID-19 Community Levels
 Framework for assessing COVID-19 risk in the general public

 3 levels: Low – Medium – High

 Different from Community Transmission Levels - takes into consideration:
   1. Number of COVID-19 cases
   2. Impact of severe disease on local healthcare systems

 At each level, CDC recommends increasing the intensity of COVID-19 prevention strategies.
  Example for the general public:
        • Low: Masking based on personal preference
        • Medium: Consider masking if you are at risk for severe illness or have contacts who
          are
        • High: Universal indoor masking in public
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 How are COVID-19 Community Levels Calculated?
                        Healthcare system strain
Transmission




                      https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html
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How are COVID-19 Community Levels Calculated? EXAMPLE




                                                         7

       157
                                                                      12%




                                                  https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html
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Where Can I Find My County’s COVID-19 Community Level?

COVID Data Tracker: COVID-19 Integrated County View




                                                                                          Map screenshot date:
                                                                                          June 8, 2022
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How are Community Levels Different from Transmission Levels?

       COVID-19 Community Levels                                  Community Transmission Levels




        Healthcare facilities continue to use
     Community Transmission Levels to determine               https://www.cdc.gov/coronavirus/2019-
         what prevention measures to use                      ncov/hcp/infection-control-recommendations.html
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How is COVID-19 Risk Assessment Different
in Correctional and Detention Facilities?


Corrections-specific guidance updated May 3, 2022:
https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
detention/guidance-correctional-detention.html
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How do I Choose Which COVID-19 Prevention Strategies to Use?
              COVID-19 prevention strategies for
            corrections are separated into 2 groups

                                                                    Enhanced
                                                              Prevention Strategies
          Strategies for Everyday
                Operations                                   Add as many as possible
                                                               when risk increases
         Baseline - use at all times
                                                             Remove gradually when
                                                                 risk decreases


                  Shift between them based on
         COVID-19 Community Levels + facility-level factors
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How do COVID-19 Community Levels Apply to Corrections?




                                                                Community data do not fully
      Defining “community”                                    represent the risks in the facility
       can be challenging
                                                              Higher risk of transmission
    Staff living across multiple
     counties/states                                          Higher risk of severe illness and
                                                               impact on internal healthcare
    Residents transferred                                     resources
     across jurisdictional lines
                                                              Risks to mental health
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COVID-19 Risk Assessment in Corrections

 Loosen or strengthen COVID-19 prevention strategies in corrections based on a
           combination of Community Levels + facility-level factors:

            COVID-19 Community Levels
                                                                            Vaccination coverage

                                                                        Transmission in the facility

                                                                    Risk of severe health outcomes

                                                                         Structural characteristics
Facility-level Factors to Guide COVID-19 Prevention Strategies:
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Vaccination

                                      What proportion of staff and residents are up
                                      to date on their COVID-19 vaccines?
                                       Safe and highly effective against severe
  Up to date
  vaccination                           illness and death
   coverage                            Continue to perform well against known
                                        SARS-CoV-2 variants
                                      If vaccination coverage is not high, consider
                                      using enhanced COVID-19 prevention
                                      measures even when the Community Level is
                                      Low.
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Vaccination Communications Materials for Corrections




  https://www.cdc.gov/coronavirus/2019-ncov/communication/print-
  resources.html?Sort=Date%3A%3Adesc&Search=correctional
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Facility-level Factors to Guide COVID-19 Prevention Strategies:
Transmission

                              Is there currently any transmission in the facility?
                               Diagnostic testing
                                (symptomatic people + close contacts)
  Transmission                 Routine screening testing
  in the facility               (regular testing of asymptomatic people –
                                exclude intake testing)
                               Surveillance testing (e.g., wastewater)
                              Use enhanced COVID-19 prevention strategies if
                              there is transmission in the facility, even if the
                              COVID-19 Community Level is Low.
Facility-level Factors to Guide COVID-19 Prevention Strategies:
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Severe Health Outcomes

                                  What is the risk of severe health outcomes among
                                  residents and staff?

     Risk of                       Older age, certain medical conditions, and some
  severe health                     disabilities associated with high risk of severe COVID-19
    outcomes                       Access to COVID-19 therapeutics, or ability to transfer
                                    to community care for treatment
                                  Consider using enhanced COVID-19 prevention strategies
                                  if the facility cannot access therapeutics or transfer
                                  patients for treatment offsite.

  Persons more likely to get very sick from COVID-19: https://www.cdc.gov/coronavirus/2019-
  ncov/need-extra-precautions/people-with-medical-conditions.html
Facility-level Factors to Guide COVID-19 Prevention Strategies:
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Facility Characteristics


                                      Are there facility characteristics that
                                      contribute to transmission?
                                       Dense housing
      Facility                         Frequent population turnover
   characteristics                     Ventilation systems that do not meet
                                        code-minimum requirements
                                      If yes, consider using enhanced COVID-19
                                      prevention strategies even when the COVID-
                                      19 Community Level is Low.
  Tools to improve ventilation: https://www.cdc.gov/coronavirus/2019-ncov/community/ventilation.html
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COVID-19 Prevention Strategies
                                                                                             Testing

                                                Vaccines                 Hygiene


               Quarantine


                                                                                            Isolation
                                                   Treatment




                          Masking
                                                                              Ventilation
Strategies for Everyday Operations and Enhanced Prevention
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Strategies
           COVID-19 prevention strategies for corrections
                   are separated into 2 groups
                                                                       Enhanced
                                                                  Prevention Strategies
            Strategies for Everyday
                  Operations                                    Add as many as possible
                                                                  when risk increases
           Baseline - use at all times
                                                                Remove gradually when
                                                                   risk decreases

                   Shift between them based on
          COVID-19 Community Levels + facility-level factors
            GOAL: Flexible guidance that facilities can use
               across a range of situations over time
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When to Use Everyday vs. Enhanced Prevention Strategies
                              Current COVID-19 Community
                                         Level




            Do facility-level factors
            indicate increased risk?                    Yes



                      No



                                                                         ADD
              Use Strategies for
                                                                      Enhanced
             Everyday Operations
                                                                 Prevention Strategies
                                                                                   Enhanced Prevention (add
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                                          Everyday Operations
                                                                                   as many as possible when
                                            (use at all times)
Which are Everyday,                                                                     risk is higher)

  and Which are                       Offer up to date vaccination

    Enhanced?



     Vaccination
                                                                                   Enhanced Prevention (add
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                                          Everyday Operations
                                                                                   as many as possible when
                                            (use at all times)
Which are Everyday,                                                                     risk is higher)

  and Which are                       Offer up to date vaccination

    Enhanced?                          Standard infection control                      Enhance ventilation




     Infection
      Control




                                                                    Tools to Enhance Ventilation
                           https://www.cdc.gov/coronavirus/2019-ncov/community/ventilation.html
                                                                                   Enhanced Prevention (add
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                                          Everyday Operations
                                                                                   as many as possible when
                                            (use at all times)
Which are Everyday,                                                                     risk is higher)

  and Which are                       Offer up to date vaccination

    Enhanced?                          Standard infection control                      Enhance ventilation
                                             Diagnostic testing                    Add/increase frequency of
                                                                                    routine screening testing
                                               Testing OR
     COVID-19                             observation period at                          Add testing to
                                                 intake                                 transfer/release
      Testing
                                        Observation instead of
                                            testing ONLY IF:
                                       Individual housing during
                                              observation
                                                   OR
                                        Housed as small cohorts
                                      starting observation at the
                                      same time + testing at end
                                                                                       Enhanced Prevention (add
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                                              Everyday Operations
                                                                                       as many as possible when
                                                (use at all times)
Which are Everyday,                                                                         risk is higher)

  and Which are                           Offer up to date vaccination

    Enhanced?                              Standard infection control                        Enhance ventilation
                                                                                                Add testing to
                                                 Diagnostic testing
                                                                                               transfer/release
     Routine                                       Testing OR                          Add/increase frequency of
    Observation                               observation period at
                                                     intake
                                                                                        routine screening testing
      Periods                                                                              Add routine observation
                                                                                            periods to movement
                                                                                                  protocols
Housing people separately
                                                                                                  Duration
 before/after movement
                                                                                           If no testing: 7-10 days
NOT related to exposure to
                                                                                       If combined with testing at
        COVID-19                                                                        the end: Minimum 5 days
                                                                                          Enhanced Prevention (add
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                                                  Everyday Operations
                                                    (use at all times)                    as many as possible when
Which are Everyday,                                                                            risk is higher)
  and Which are                                Offer up to date vaccination

    Enhanced?                                   Standard infection control                   Enhance ventilation
                                                                                                 Add testing to
                                                     Diagnostic testing
                                                                                                transfer/release
      Isolation &                                      Testing OR                         Add/increase frequency of
      Quarantine                               observation period at intake                routine screening testing
                                                                                              Add routine observation
                                                                                               periods to movement
Isolation (infected)
                                                 Isolation & Quarantine                              protocols
 10 days
 Decrease only short-term
   during crisis operations
Quarantine (exposed)
 10 days or modified (more
  later)
                   Case 2:20-cv-00901-DJH-DMF Document 192-3 Filed 08/05/22 Page 96 of 134
                                              Everyday Operations                            Enhanced Prevention
                                                                                         (add as many as possible when
Which are Everyday,                                  (use at all times)
                                                                                                  risk is higher)

  and Which are                               Offer up to date vaccination

    Enhanced?                                  Standard infection control                       Enhance ventilation

                                                    Diagnostic testing                   Add testing to transfer/release

                                                      Testing OR                             Add/increase frequency of
     COVID-19                                 observation period at intake                    routine screening testing
     Treatment                                                                          Add routine observation periods
                                                                                            to movement protocols

                                                  Isolation & Quarantine

Assess residents for risk of                    Treat or transfer for care
 severe health outcomes
              Case 2:20-cv-00901-DJH-DMF Document 192-3 Filed 08/05/22 Page 97 of 134
                                         Everyday Operations                            Enhanced Prevention
                                                                                    (add as many as possible when
Which are Everyday,                             (use at all times)
                                                                                             risk is higher)

  and Which are                          Offer up to date vaccination

    Enhanced?                             Standard infection control                       Enhance ventilation

                                               Diagnostic testing                   Add testing to transfer/release

                                                 Testing OR                             Add/increase frequency of
      Masks                              observation period at intake                    routine screening testing
                                                                                   Add routine observation periods
                                                                                       to movement protocols

                                             Isolation & Quarantine

                                           Treat or transfer for care

                                                Offer masks to all                        Require masks indoors
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                                        Everyday Operations                            Enhanced Prevention
                                                                                   (add as many as possible when
Which are Everyday,                            (use at all times)
                                                                                            risk is higher)

  and Which are                         Offer up to date vaccination

    Enhanced?                            Standard infection control                       Enhance ventilation

                                              Diagnostic testing                   Add testing to transfer/release

                                                Testing OR                             Add/increase frequency of
    Movement                            observation period at intake                    routine screening testing
        &                                                                         Add routine observation periods
    Distancing                                                                        to movement protocols

                                            Isolation & Quarantine

                                          Treat or transfer for care

                                               Offer masks to all                        Require masks indoors

                                                                                         Minimize movement
                                                                                   Decrease crowding as possible
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                                        Everyday Operations                            Enhanced Prevention
                                                                                   (add as many as possible when
Which are Everyday,                            (use at all times)
                                                                                            risk is higher)

  and Which are                         Offer up to date vaccination

    Enhanced?                            Standard infection control                       Enhance ventilation

                                              Diagnostic testing                   Add testing to transfer/release

                                                Testing OR                             Add/increase frequency of
    Prepare for                         observation period at intake                    routine screening testing

    Outbreaks                                                                     Add routine observation periods
                                                                                      to movement protocols

                                            Isolation & Quarantine

                                          Treat or transfer for care

                                               Offer masks to all                        Require masks indoors

                                                                                         Minimize movement
                                                                                   Decrease crowding as possible
                                            Prepare for outbreaks
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Choose Enhanced Strategies Based on Local Needs and Priorities
                                                                            It may not be feasible to use all
                            Housing
                             styles
                                                                             enhanced strategies because of
         Movement/
                                                                             resources, facility characteristics
                                                   Size
          Turnover
                                                                            Add as many as possible during
                                                                             periods of higher risk
                                                                            Apply enhanced strategies across a
 Population           Prevention is not                    On-site
                                                                             whole facility, or target to specific
 risk factors                                             healthcare
                      “one size fits all”                                    areas
                                                                            Consider impact on mental health,
         Mental
                                                                             in-person learning, and compliance
       health risks                               Resources
                                                                            During periods of lower risk,
                            Facility
                            mission
                                                                             remove enhanced strategies
                                                                             gradually
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Modified Approaches to Post-Exposure Quarantine in
Correctional and Detention Facilities
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                                                                       Individual                   Cohorted

       Review
                                                                                  All exposed persons,
                                             Who?                            regardless of vaccination status


     Standard                             How long?                        10 days
                                                                                                 Until 10 days have
                                                                                                passed with no new
    Quarantine                                                                                    cases identified
     Approach
                                                                   Initial diagnostic test        Serial test the
                                             Testing                 + 2nd test ≥5 days         whole cohort every
                                                                       after exposure               3-7 days


                                                                                  Minimal movement
                                          Movement                            outside the quarantine space
Lowest transmission risk
                                         Monitoring                            Monitor for symptoms daily
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                               One of the most challenging parts of the pandemic
                                for corrections
                                 • Prolonged quarantine periods for cohorts
                                 • Long periods without access to programs,
Challenges                           visitation
                                 • Mental health risks
  with
Quarantine                     Also one of the most difficult prevention strategies
                                to modify
                                 • Based on the incubation period of the virus
                                 • Can have immense impact on transmission
                                   in congregate settings

                                  At this point in the pandemic, we need flexibility
                                  to meet local needs and to adapt to variants with
                                                different characteristics
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    New Table in                                 Allows
                                               Variation in:                                Emphasizes
  Updated Guidance                                                                     risk tolerance levels
                                                     Who?                     Choose a stricter approach
                                                                               when risk of severe health
        MODIFIED                                 How long?                     outcomes is high (e.g., the
       Quarantine                                                              circulating variant is
       Approaches                                                              associated with more severe
                                                    Testing                    disease)
                                                                              Allow more permissive
https://www.cdc.gov/coronavirus/                 Movement                      approaches when risk is
2019-ncov/community/correction-                                                lower, to balance mental
detention/guidance-correctional-                                               health and programmatic
detention.html                                   Monitoring                    needs
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Prioritizing COVID-19 Prevention Strategies in Corrections




SARS-CoV-2 transmission                                              Mental health
         Severe illness                                                 Quality of life
                 Death                                                  Operational needs
 Post-COVID-19 conditions                                           Institution’s mission
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Technical Content Updates
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                                            “Routine Observation Periods”
                                        Previous versions of the guidance used
                                         “routine intake/transfer/release quarantine”
                                        Easy to confuse this terminology with true
                                         quarantine
Technical Updates
                                         after an exposure
                                        Has resulted in mixing groups of people:
                                             • Exposed
                                             • Under routine quarantine during movement
                                               (not exposed)
                                        Changing to “routine observation periods”
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                                Symptom Screening + Temperature Checks

                                         Less emphasis on these tools for people
                                          without
                                          a known exposure
Technical Updates                          • Low sensitivity (does not catch all infections)
                                           • Staff and time-intensive
                                         Still important to use for people in quarantine
                                          after an exposure
                                           • Helps identify infections early to prevent
                                                severe health outcomes
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                                        Guidance for Healthcare Workers
                                    Corrections-specific guidance does not replace
                                     guidance for healthcare workers.
                                    Facilities providing healthcare services should use
                                     CDC’s Infection Prevention and Control
Technical Updates                    Recommendations for Healthcare Personnel for
                                     patient care areas:
                                     https://www.cdc.gov/coronavirus/2019-
                                     ncov/hcp/infection-control-
                                     recommendations.html
                                    CDC healthcare guidance continues to use
                                     Community Transmission Levels rather than
                                     Community Levels to guide prevention strategies.
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Summary
 Updated corrections guidance shifts focus to
  preventing severe health outcomes.
 Assess risk on an ongoing basis using COVID-19
  Community Levels and facility-level factors.
 Use Strategies for Everyday Operations at all
  times.
 During periods of higher risk, ADD enhanced
  prevention strategies where feasible. Remove
  gradually.
 Every facility is different. Prioritize enhanced
  prevention measures to balance COVID-related
  risks with mental health risks & programmatic
  needs.
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                     THANK YOU!




Contact us with questions: SpecialPopulations@cdc.gov
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                EXHIBIT 7
                 Declaration of
                 K. Jaramillo
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 9
                                       DISTRICT OF ARIZONA
10
     Claudia Romero-Lorenzo, et al.,                       NO. CV-20-00901-PHX-DJH (DMF)
11
                                         Plaintiffs,
12                                                         DECLARATION OF K. JARAMILLO
                   v.
13
     Brian Koehn, et al.,
14
                                       Defendants.
15
16
17           I, K. Jaramillo, state the following based upon my personal knowledge:
18           1.     I am over the age of 18 years and competent to testify to the matters set
19    forth in this Declaration. I make this Declaration in support of Defendant Kline’s Motion
20    for Summary Judgment. I have personal knowledge of the facts set forth in this
21    Declaration, and if called as a witness, can competently testify to them.
22           2.     I have a Bachelor of Science in Nursing and am employed by CoreCivic
23    currently serving as the Complex Health Services Administrator (“Complex HSA”) at
24    CoreCivic’s Central Arizona Florence Correctional Complex (“CAFCC”), located in
25    Florence, Arizona (Pinal County). I have held this position since 2017. Prior to that I was
26    the Health Services Administrator (“HSA”) at CAFCC. I have worked for CoreCivic at
27    CAFCC since June 2012.
28           3.     I am a Registered Nurse, licensed and in good standing with the Arizona
                                                       1
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 1   State Board of Nursing.
 2          4.     CoreCivic owns and operates CAFCC and houses a population of United
 3   States Marshals Service (“USMS”) detainees at CAFCC pursuant to a correctional
 4   services agreement with the USMS.
 5          5.     As Complex HSA, I am responsible for risk management and quality
 6   assurance associated with the operation of CAFCC’s medical department, managing
 7   medical department processes and procedures, developing healthcare services protocols,
 8   overseeing healthcare staff compliance, scheduling, maintaining facility healthcare
 9   accreditations, and overseeing the USMS services agreement as related to delivery of
10   detainee healthcare services as well as other jurisdictions’ services agreements regarding
11   the same.
12          6.     I supervise a Health Services Administrator, as well as four Clinical
13   Supervisors. Nursing staff at CAFCC report directly to me, which includes
14   Communicable Infectious Diseases (“CID”) nursing staff. I also have oversight of facility
15   healthcare providers, including physicians as related to administrative operations only.
16          7.     I am familiar with the Center for Disease Control (“CDC”) Guidelines for
17   procedures relating to the treatment and containment of COVID-19. I am also familiar and
18   have relied upon the CDC Interim Guidance for Correctional and Detention Facilities
19   (“CDC Interim Guidance”).
20          8.     I have relied upon CDC Interim Guidance, the Pinal County Health
21   Department, NCCHC virtual online training material, and emergency preparedness plans
22   brought through CoreCivic’s Facility Support Center (“FSC”) as resources with best
23   practices for addressing COVID-19 in a correctional setting.
24          9.     Specifically, I am familiar with CDC Interim Guidance and am aware that
25   the CDC issued revisions to those guidelines on July 14, 2020; February 19, 2021; May 6,
26   2021; June 9, 2021; February 10, 2022; and May 3, 2022.
27          10.    I am registered with the Pinal County Public Health Department and attend
28   monthly COVID-19 meetings by telephone conference. I also receive communications
                                           2
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 1   from the Pinal County Public Health Department when there are changes with vaccines or
 2   quarantine processes and procedures. I have registered for these courses so that CAFCC
 3   can implement and administer a vaccine clinic within the facility.
 4          11.    I received a Certificate of Completion issued by the Arizona Department of
 5   Health Services for Keeping on Track with ASIIS and Vaccine Storage and Handling on
 6   December 18, 2020. This Certificate was renewed in January 2022.
 7          12.    In March 2020, I took a National Commission on Correctional Health Care
 8   (“NCCHC”) virtual class on COVID-19 pandemic management. In May 2020, I took
 9   another NCCHC class on challenges that correctional workers face with the COVID-19
10   pandemic and how to overcome those challenges. I have also been involved in weekly
11   meetings with CoreCivic’s Chief Medical Officer at CoreCivic’s national headquarters in
12   Nashville, Tennessee relating to the pandemic and CoreCivic response operations to
13   address the same.
14          13.    In December 2020, CAFCC became registered with the Arizona
15   Immunization Program Office (“AIPO”) in preparation for disbursement of the COVID-
16   19 vaccine.
17          14.    I enrolled in Pandemic Provider Courses by the AIPO on March 5, 2021.
18   These courses have provided me with training on using the Arizona State Immunization
19   Information System (“ASIIS”) and training on COVID-19 vaccine handling and storage.
20          15.    The Pandemic Provider Courses I participated in also provided training on
21   record-keeping for patients as to COVID-19 vaccination status, which was instituted at
22   CAFCC.
23          16.    The Pinal County Health Department has reviewed and approved CAFCC’s
24   quarantine, isolation, testing, and vaccination plans.
25          17.    As the Complex HSA for CAFCC, my responsibilities related to COVID-19
26   response operations have included devising and disseminating protocols based on CDC
27   Guidelines, hosting and leading meetings with a facility multi-disciplinary team to
28   manage COVID-19, preparing and disseminating training information and materials to
                                           3
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 1   staff, participating in detainee Town Hall meetings that take place in detainee living units
 2   to provide COVID-19 prevention and vaccine education and answering detainee
 3   questions, creating documents for educational purposes for the nursing staff and the
 4   detainee populations that we serve, and monitoring COVID-19 trends both within CAFCC
 5   and in the community. I also work closely with the Pinal County Public Health
 6   Department to acquire additional information and resources and provide the Department
 7   with any COVID-19 information they seek regarding facility operations or infection rates.
 8   I also oversee the CAFCC Clinical Supervisor, C. Rose, RN, BSN, who oversees the
 9   Infectious Disease Program at CAFCC.
10          18.     In the performance of my duties related to COVID-19 response operations, I
11   also rely upon written materials provided by the USMS relating to COVID-19 testing
12   guidelines, guidelines on consultations to mitigate exposure during offsite medical
13   consultations, and quarantine and isolation guidelines.
14   Vaccinations
15          19.     In accordance with the updated COVID-19 Vaccination Plan for Health
16   Services at CAFCC, I am the primary Vaccine Coordinator. A true and correct copy of
17   the CAFCC Vaccination Plan (updated 11/16/21) is attached as Attachment A.
18   (CORECIVIC-MLG003499-3507.)            The   Vaccination     Plan     addresses      vaccination
19   preparedness      plans,   storage     and       handling   requirements,      training      on
20   ordering/tracking/storage/vaccine    administration,    vaccine     administration    practices,
21   staffing resources, and vaccine contraindications.
22          20.     Facility vaccination administration protocols relevant to the Vaccination
23   Plan continue to evolve as the pandemic evolves. Of significance as related to the last
24   iteration of the Vaccination plan issued in November 2021 (Attachment A), CAFCC now
25   only administers the Moderna vaccine – used both for initial vaccination and booster
26   purposes.
27
28
                                                  4
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 1          21.    Upon initial detainee intake, CAFCC makes every effort to obtain a
 2   vaccination history from each detainee in order to provide appropriate vaccination/booster
 3   guidance for the detainee population.
 4          22.    CAFCC medical staff also review the Arizona State Immunization
 5   Information System (ASIIS) to validate a detainee’s reported vaccination history provided
 6   during the intake screening process.
 7          23.    The majority of CAFCC detainees, however, are from other states and
 8   countries, which makes verification of their vaccination history information challenging
 9   where the information in ASIIS only pertains to vaccinations administered in Arizona.
10          24.    If a detainee is unable to document a valid vaccine administration or
11   verification cannot be made in ASIIS, CAFCC identifies the detainee as unvaccinated in
12   the detainee’s medical record.
13          25.    Prior to March 31, 2021, and during the time period when vaccines were not
14   widely available, CAFCC detainees were offered COVID-19 vaccinations in accordance
15   with Pinal County Health Department Guidelines, including guidelines that were based on
16   age tiers and COVID-19 co-morbidity risk factors. Detainees identified as vulnerable or at
17   higher risk of serious COVID-19 related illness per CDC Guidelines and those over the
18   age of 65, were offered the vaccination first, with additional available vaccinations offered
19   to other detainees based upon the early tiered guidelines for vaccine eligibility.
20          26.    As the vaccines became widely available and specifically starting on March
21   31, 2021, vaccines are now offered to all CAFCC detainees over the age of eighteen and
22   without regard to CDC risk factors. Vaccine boosters are likewise offered to all detainees
23   over the age of eighteen.
24          27.    CAFCC previously offered both the Moderna and Johnson & Johnson
25   vaccines. Detainees requesting a COVID-19 vaccine were given education regarding both
26   available vaccines so they could choose which one to receive.
27          28.    CAFCC currently offers only the Moderna COVID-19 vaccine for both
28   initial courses and boosters, and the vaccines are stored onsite.
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 1          29.    To obtain a vaccine or booster, detainees may submit a medical request
 2   form for a COVID-19 vaccine to the medical department. While a written request is
 3   preferred, if a request is made verbally to either security or medical staff, the detainee is
 4   directed to submit a medical request form for the same.
 5          30.    If a detainee requests a vaccination or booster during a medical encounter
 6   with a health care provider, the provider will task a request for the same in the Electronic
 7   Health Record (EHR) and the detainee will be added to the queue of detainees who will be
 8   scheduled to receive a vaccine or booster. If a vaccination clinic is offered in a housing
 9   location and the detainee has not previously made a request for a vaccination/booster, the
10   detainee may receive one without making a formal written medical request, provided the
11   detainee is provided the vaccine Fact Sheet and signs the required consent form prior to
12   vaccination/booster.
13          31.    Detainees are provided vaccine Fact Sheets specific to the vaccine and
14   acknowledge receipt of the same prior to being provided a vaccine or booster. Fact Sheets
15   are provided in English and Spanish to detainees during Town Hall meetings and/or
16   before being provided with a requested vaccine/booster. Fact Sheets are updated as
17   guidance to do the same is provided to me by the Pinal County Health Department.
18          32.    A detainee cannot receive a vaccination or a booster unless the detainee has
19   acknowledged receipt of a Fact Sheet. Indeed, the vaccine Fact Sheet is part of the
20   consent packet provided to the detainee. The consent form acknowledges receipt of the
21   Fact Sheet. The detainee must sign the vaccination consent form before receiving a
22   vaccination or booster.
23          33.    CAFCC medical personnel often participate in detainee Town Hall meetings
24   where COVID-19 education/prevention and vaccination/booster information is provided.
25          34.    Vaccines/boosters are provided to detainees within a reasonable period of
26   time from when the requests are made. The time period between the request and
27   administration of the vaccine/booster can vary where considerations as to available
28   supply, scheduling, staffing, and pending requests are at play.
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 1          35.    As illustration, per normal medical request protocols that apply to any
 2   manner of request for medical care, CAFCC medical staff have 24 hours within which to
 3   triage a request for medical care. Thereafter, CAFCC nursing staff have 72 hours to
 4   further review a non-urgent/emergent request and schedule the detainee to be seen. As to
 5   a request for a COVID-19 vaccination or booster, the detainee’s name is then placed onto
 6   the vaccine log which will track when the detainee made the request and when the
 7   vaccination/booster is administered.
 8          36.    Each vial of the Moderna vaccine contains approximately 10–15 doses. If
 9   only one or a few detainees is/are currently requesting a vaccine or booster, CAFCC
10   schedules vaccination/booster administrations so as to avoid allowing unused doses to
11   expire to the extent reasonably practicable.
12          37.    Once a vial of Moderna vaccine is punctured, it should be discarded within
13   12 hours of puncture. Unpunctured vials may be stored in refrigeration for up to 30 days.
14          38.    Nevertheless, CAFCC will not deny a detainee the opportunity for a
15   vaccination or booster simply to avoid allowing doses to expire. 1
16          39.    These vaccine clinics are run in housing units to provide vaccinations and
17   boosters not only for those detainees who have previously requested and been scheduled
18   to receive them, but to also on-the-spot offer them to any detainee in the particular
19   housing location who has not been previously vaccinated or boosted and is eligible to do
20   so.
21          40.    It is proven and commonly understood in both the medical field and in the
22   community that a person who is fully vaccinated and has received COVID-19 boosters
23   may still contract COVID-19.
24
25
            1
26            As a vaccination (first or second shot) is administered, medical staff enter orders
     into CAFCC’s Allscripts electronic medical record for the second shot or booster to track
27   when detainees are eligible for the same. Boosters may be given five months after the
     second series vaccination shot. This time period changed from six months to five months
28   in early 2022 due to guidance provided by the Pinal County Health Department.
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 1          41.    If there becomes a shortage on COVID-19 vaccine or boosters, those
 2   detainees who are at higher risk for serious COVID-19 related illness will be offered
 3   vaccination/booster as a priority (or “first”) before detainees who do not have CDC risk
 4   factors for developing serious COVID-19 related illness.
 5          42.    Since vaccine supplies became widely available in March 2021, I do not
 6   recall CAFCC experiencing any circumstance where detainee demand for vaccinations or
 7   boosters has exceeded CAFCC’s supply.
 8   COVID-19 Testing, Isolation, and Quarantine
 9          43.    Previously, all new detainee intakes to CAFCC were tested for COVID-19
10   within 24 hours of being placed in a new admission cohort housing pod, unless they
11   arrived on a Saturday or Sunday, in which case they would be tested on the following
12   Monday.
13          44.    Effective July 19, 2022, all new intakes are swabbed with a COVID-19
14   rapid test during the intake process, including detainees who arrive over the weekend.
15          45.    PCR tests are also available at CAFCC and the facility uses Garcia Labs to
16   process the PCR tests. The turnaround time is typically around two to three days to
17   receive the PCR test results.
18          46.    In recent months, the majority of CAFCC detainees who test positive for
19   COVID-19 are asymptomatic.
20          47.    Currently, and consistent with current CDC Interim Guidance, all CAFCC
21   new admission detainees are rapid tested for COVID-19 during the intake process and
22   unless they are symptomatic or test positive for COVID-19, they are then assigned to
23   appropriate housing.
24          48.    Also consistent with current CDC Interim Guidance, once assigned to their
25   housing locations, detainees who show or report COVID-19 symptoms, or are identified
26   as close contacts with COVID-19 positive detainees, are offered a COVID-19 test.
27          49.    Detainees who are COVID-19 positive or who show or report symptoms of
28   COVID-19, are immediately medically isolated for 10 days. Where housing unit cell
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 1   space provides, detainees who are COVID-19 positive are single-celled. The cells have
 2   solid cement walls and solid metal doors (with a window). If medical isolation bed space
 3   does not allow for single-celling, only detainees who are confirmed COVID-19 positive
 4   by test results are celled together. This is done in order to protect against a suspected
 5   COVID-19 positive case (who later turns out to be negative) being celled together with a
 6   confirmed COVID-19 positive case (and thus exposed to a positive case).
 7            50.   Detainees who require closer monitoring because of low O2 saturation (i.e.,
 8   below 95%) or other medical conditions that put them at higher risk of COVID-19 related
 9   illness (e.g., asthma, diabetes, hypertension, etc.) may be housed in an observation cell in
10   one of CAFCC’s medical units.
11            51.   Detainees in medical isolation in one of CAFCC’s medical units receive
12   symptom screening at least once per shift (i.e., once every eight hours) and as often as
13   every four hours if ordered by the physician or nurse practitioner. Detainees who are in
14   medical isolation but housed in a designated isolation housing unit receive symptom
15   screening, including their temperature and O2 saturation, once a day. They also have
16   contact with medical staff at least twice a day during pill pass times. Detainees are
17   instructed to report any symptoms they are experiencing to the pill pass nurses or to unit
18   staff.
19            52.   A housing pod from which a COVID-19 positive detainee is identified (and
20   removed from the housing pod and isolated) is quarantined for 8 days to test close contact
21   detainees and to monitor the housing pod detainees for COVID-19 symptoms (monitored
22   daily). If a detainee in quarantine tests positive for COVID-19, the quarantine period
23   restarts for the housing pod.
24            53.   During quarantine, unit staff conducts daily symptom screenings, including
25   temperature checks, of all detainees in the pod (except for those detainees, if any, who
26   refuse the screenings). Medical staff reviews the results to ensure any detainees who
27   might require additional follow-up receive it.
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 1          54.    Unit staff instruct detainees in quarantine to sleep head to toe to increase the
 2   distance between their airways. Staff also instruct detainees in quarantine to socially
 3   distance and wear masks and increase sanitation within the pod.
 4   Masks
 5          55.    All CAFCC detainees are provided cloth face masks during admission into
 6   the facility. The security operations staff provide the detainees with the cloth masks.
 7   Replacements are available upon request and the cloth masks may be laundered with he
 8   inmate’s uniform or handwashed.
 9          56.    In addition, CAFCC medical staff provide detainees who are symptomatic
10   or COVID-19 positive with additional medical grade surgical masks. Replacement masks
11   are also available.
12          57.    Symptomatic or COVID-19 positive detainees who are on isolation status
13   must wear their masks (even while in cell) when they are talking to or interacting with
14   medical staff. They must also wear the surgical mask when exiting the cell.
15   Antiviral Medications
16          58.    Presently, CAFCC has access to the COVID-19 antiviral medications
17   (Paxlovid and Molnupiravir) where clinically indicated to be prescribed to a COVID-19
18   patient and where the detainee patient agrees to take the antiviral medication. 2 CAFCC
19   may obtain such medications through local pharmacy order.
20           59.   Because CAFCC can obtain antiviral medications through local pharmacy
21   order, the facility does not keep the medications in stock for every single detainee who
22   may be eligible for prescription of the medication in the event that they actually become
23   infected with COVID-19.
24           60.   Rather, like any other medications, COVID-19 antiviral medications can
25   simply be ordered by CAFCC health care providers from local pharmacies when clinically
26   indicated for a particular detainee patient.
27          2
             Detainees have the right to refuse medical care including recommended
28   medication prescriptions even where recommended by CAFCC health care providers.
                                                    10
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 1   Specific Detainee COVID-19 Status
 2         61.    According to the medical record on file, CAFCC USMS Detainee Tracy
 3   Ann Peuplie was admitted into CAFCC on December 30, 2019 and transferred from
 4   CAFCC on May 19, 2021. She was identified as at higher risk for COVID-19 related
 5   illness due to age and diagnosed asthma and hypertension. While detained at CAFCC, she
 6   refused the Moderna COVID-19 vaccine on May 13, 2021. Her COVID-19 transfer test
 7   that was administered on May 18, 2021, was negative. Detainee Peuplie never tested
 8   positive for COVID-19 while detained at CAFCC.
 9         62.    According to the medical record on file, CAFCC USMS Detainee James
10   Tyler Ciecierski was admitted into CAFCC on February 27, 2020 and released to the
11   community on April 12, 2021. He received the Johnson & Johnson vaccine on March 31,
12   2021 but refused the Moderna booster on March 2, 2022. He also refused a COVID-19
13   release test. Detainee Ciecierski never tested positive for COVID-19 at CAFCC. During
14   his detention at CAFCC, he was hospitalized (non-respiratory). He was tested for COVID-
15   19 while hospitalized and the test was negative.
16         63.    According to the medical record on file, CAFCC USMS Detainee Marvin
17   Lee Enos was admitted into CAFCC on August 6, 2019 and released on July 1, 2021. He
18   was identified as at higher risk for COVID-19 related illness due to hypertension and
19   asthma. He received two doses of the Moderna vaccine – the first on April 29, 2021 and
20   the second on May 27, 2021. Detainee Enos never tested positive for COVID-19 at
21   CAFCC.
22         64.    Even while in custody, detainees may refuse all medical care unless court
23   ordered. As such, CAFCC USMS detainees have the right to refuse COVID-19 tests,
24   offered vaccination and boosters, offered and/or prescribed COVID-19 antiviral
25   medications, and any offered or recommended therapeutic treatments for COVID-19
26   symptoms or COVID-19 related illness.
27   ///
28   ///
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         ATTACHMENT A
    TO DECLARATION OF
       K. JARAMILLO
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               COVID19 Vaccination Plan for Health Services
                         Facility Vaccine ID #63957
                                 Pin


       Section 1 Preparation:
 Pandemic vaccination response planning will require collaboration
 among multi‐disciplinary groups and a team approach to accomplish
 the goal of executing vaccines to both the staff and the detainee
 population. Following the planning guidance below can assist in
 developing a correctional settings baseline readiness to launch the
 COVID‐19 vaccination program for Central Arizona Correctional
 Complex (CAFCC).


 Registration: The first step in the preparedness phase was to register
 Dr. J    Osteen MD the facility Medical Director in the Arizona
 Immunization Program Office (AIPO) via the online registration. The
 purpose of this registration was to ensure the provider understands the
 requirements and that the facility is able to meet those requirements,
 CAFCC registration was completed on 12/4/2020.
 During registration the amount of doses for the vaccine were
 accounted for. There is approx. 926 employees and 4,200 detainees.
 This is an estimated amount of 10,252 doses.


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 At the time of registration an additional three LIP providers were
 allocated to the vaccine program, names, license numbers, and titles
 were documented. Providers include Dr. Johnson DO, R         Taylor NP,
 and A       Erdman NP. In addition to the providers, a Primary Vaccine
 Coordinator was established as well as a Back up Coordinator and
 Office Manager for the program. At this facility C.H.S.A Jaramillo is the
 primary Coordinator, followed by H.S.A Navarro as the Secondary
 Coordinator, followed by CS Rose.


       Section 2 Storage and Handling Requirements
 We will be receiving the Moderna vaccine first. After EUA for the
 Janssen vaccine, we expect to be receiving this one.
 Units: the facility will purchase approx. 10 units to store vaccines.
 Refrigerator vaccines will be stored at 36 to 46 degree F and will have a
 separate temperature control. Freezer units will have a separate
 temperature control and will be stored at ‐4 degree F. the business
 Manager and Maintenance Manager will review the AAP Immunization
 Resource Storage and Handling Series Refrigerators, Freezers, and
 Vaccine Storage guidelines and budget as well as order the units.
 Equipment: approx. 10 units will be ordered. Digital continuous
 thermometers will be ordered for each unit along with back up portable
 data loggers. Water bottles to keep the units cold will be available as
 well as dry ice if needed. VFC Refrigerator temperature logs will be
 distributed.
 Areas: Units will be distributed in assigned areas that are convenient
 for staff and meet safety guidelines. 10 Unit management offices are
 being discussed as main housing for the units. Units will be plugged into
 one outlet only. Units will not be plugged into surge protectors, an


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 outlet that is controlled by a switch, or outlets that have a reset button.
 Maintenance will need to certify that the outlets meet the
 requirements.
 Update: due to the ability to continuously obtain COVID‐19 vaccines,
 the 10 storage units were not needed and reduced to two freezers and
 one refrigerator and are stored in medical two with secure locks. All
 units have data loggers to monitor for temperature compliance.
 Safety: Units are required to have signage posted with safety
 guidelines. Warning signs not to unplug, as well as who to contact for
 issues, as well as vaccine storage signs have been downloaded and will
 be placed on all units. To ensure that temperature control is
 appropriate a VFC Refrigerator temperature log will be maintained and
 monitored twice daily every day by the designated supervisor. If at any
 time it is noted that the temperature is outside of the guidelines, the
 supervisor must call the vaccine center at 602‐364‐3642.


       Section 3 Training
 Staff members who play a role in ordering, tracking, storage and
 administration of the vaccine will need to have general training on their
 roles responsibilities, and vaccine/patient safety.
 Update: As of 12/21/2020 staff were trained on storage and general
 information for Moderna COVID‐19 vaccine. As of 3/25/2021 staff was
 trained on general storage of Johnson and Janssen vCOVID‐19 vaccine.
 Training Rosters(4‐2A) remain on file in the H.S.A office.
 Provider Training: C.H.S.A. Jaramillo, H.S.A. Navarro, C.S. Rose, Medical
 Director Osteen, NP Taylor, Dr. Johnson, and NP Erdman will register
 for the AIP train and learn platform that provides training for ordering,
 storing, and administration of the vaccine.


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 Update: Due to the nature of storage and all that it entails it was
 decided that H.S.A Navarro and H.S.A Jaramillo would be the main
 personnel to registry for the AIPO train and complete the storage and
 handling training. Copies of certificates are on file in the H.S.A office.


 Other Personnel: Staff who administer the vaccine will be instructed on
 supplies, PPE, documentation, adverse reactions, and administration of
 the vaccine. Medical Records Clerk or designees will be trained on how
 to enter Arizona State Immunization Information System (ASIIS) to
 order, receive, and account for pandemic vaccines. Captain or
 designees will be trained on how to check units twice daily and report
 any deficiency as well as how to document on the logs. Front lobby
 officers will be trained on how to receive shipment.
 Update: A small group of credentialed staff are assigned to conduct
 vaccines. Not all staff is trained. Only those as part of the vaccine team
 have been trained by H.S.A Jaramillo, H.S.A Navarro, or CS Rose.
 Training records for the vaccine team were completed on
 Vaccine: the facility will need to be educated that the doses are not
 interchangeable and that patients must complete the series of the
 same product. Staff will need to be educated on each brands
 preparation method and doses.


       Section 4 Administration of the vaccine
 Only licensed medical staff will be able to administer the vaccine. For
 CAFCC that includes nursing staff, providers, Clinical supervisors, and
 Certified Medical Assistant.




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 Supplies: It is anticipated that ancillary supply kits needed to administer
 the vaccine will be included with the vaccine kit. This includes needles,
 syringes, alcohol prep pads, vaccination record cards, and minimal PPE.
 The facility will order additional sharps containers, gloves, bandages,
 and PPE needed for the vaccine.
 Priority: All medical staff will first be offered the vaccine, followed by
 essential staff workers as identified by Pinal County Health Department.
 All detainees will be offered the vaccine in accordance with Pinal
 County Guidelines. The guidance at this time is for age tiers.
 Pre‐vaccination: Prior to being vaccinated the staff member or
 detainee will be asked to sign a consent form or refusal form provided
 by FSC. A pre‐town hall will occur approximately 1‐5 days prior to
 vaccine administration along with an educational flier; unit
 management will conduct this. A town hall will occur for all detainees
 by the UM staff in preparation of what to expect, answer questions,
 distribute the consent/refusal forms, and screening questionnaires. This
 will be conducted by UM staff and a medical staff. HR will send out
 notifications to employees. Staff and detainees will be educated to
 inform medical and or HR of any adverse reactions. Designated areas
 will be established for administration.
 For detainees, designated areas in each housing unit will be utilized for
 the purpose of vaccine administration. An order for the vaccine will be
 entered into Allscripts as a nursing orderable, along with an approved
 standing order signed by the medical director.
 Vaccination:
 Effective March 31, 2021, in accordance with Pinal County Health
 Department Guidelines, vaccines will be offered to those 18 years and
 older. Medical staff will be going unit to unit in order to vaccinate the



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 current population. Infirmary, O POD, and 1000, has been identified a
 more vulnerable population, and will be offered first.
 Initial dose: After the initial education and consent is obtained, the
 patient will receive the initial dose of vaccine. The Qualified Health Care
 Provider (QHCP) will document in the EMR the name of the vaccine
 administered, the vaccine manufacturer, lot number, administration
 route, and site. The QHCP will then order the next dose to be given at
 the appropriate interval per manufacture. A report of who was given
 the vaccine will be given to the assigned personnel to then be entered
 into the ASIIS system.
 Follow up: If the manufacturer requires, a second dose will be
 administered per order and the above documentation for the EMR and
 the ASIIS will occur. Weekly a supervisor or designee will update the
 ASIIS for additional supplies and vaccine orders as well as upload daily
 temperature logs and monitoring of storage logs. The program will be
 updated, audited, and reviewed by the health service management
 team weekly.
 Duration: Administration will occur on an ongoing basis until further
 notice based off of vaccine availability, staffing resources, and guidance
 from the local health department. The facility building schedule will be
 adjusted to facilitate the administration of the vaccine. Escorts will be
 assigned to medical to facilitate the process and unit management
 teams will assist with the process. Once all current detainees and staff
 are offered the vaccine, the program will extend to all new books and
 new hires until further notice and will be conducted as part of the new
 intake process and COVID testing plan.




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       Section 5 Staffing
 The ADO team as well as the medical supervisor team and HR will need
 to review the staffing plan for resources. Regional Director Sells will be
 asked to see if other AZ facilities can assist with mass vaccinations to
 include CMA, nurses, and record clerks for data entry. Additional
 registry resources may be utilized as well as office staff to meet the
 demand. HR will be responsible for entering all employees into the
 ASIIS system. Additional non‐medical staff may apply for access to ASIIS
 to enter data. During staff shortage crises, a priority system will be
 used to vaccinate detainees. High risk detainees are the priority as well
 as severely mentally impaired and those with disabilities.


       Section 6 Contraindications
 In accordance with CDC guidelines, the following detainees will not be
 offered a vaccine.
     Detainees on a quarantine for a known COVID‐19 exposure
     Detainees that were COVID‐19 positive and received monoclonal
      antibody treatment in the last 90 days
     Detainees who are in isolation precautions for COVID‐19
     Detainees who have stated that they have had a prior vaccine but
      do not have documented proof.
     Detainees who had a dose of a vaccine that is not allocated to our
      facility.
     Those who have reported a severe allergic reaction to a prior
      vaccine or any components of the vaccine allocated to this facility.


       Section 7 Conclusion



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 In summery the facility has obtained an official approval of the
 registration for the vaccine and has been assigned an ID number that is
 63957 and a pin number that is           . Units are in the process of
 being ordered and accountability and delegation of staff responsibility
 is in place. Training is being conducted via the AIPO. Access is being
 granted on the ASIIS system and the facility is preparing for the vaccine
 program. The biggest challenge is going to be medical staff to
 administer the vaccine and update the ASIIS system. Each challenge will
 be addressed in meetings with ADO and medical staff.


       Section 8 Addendum
 The facility is approved to provide both Moderna COVID‐19 vaccine as
 well as Johnson and Janssen COVID‐19 vaccine. As of 11/3/2021 the
 facility has been approved to provide boosters doses to the detainee
 population. Prior to the administration of booster vaccines, staff will be
 trained on compatibility and dosing. A 4‐2a training roster will be
 maintained. Dr O'steen the Medical Director will sign off on a booster
 protocol with orders for the vaccine. Signs will be posted in the units
 with information on how to obtain a booster dose. Detainees will be
 educated to submit a health request to medical to inquire the vaccine.
 Medical will do monthly clinics based off detainee request. The priority
 of care is to administer first and second doses opposed to booster
 vaccines; However, high risk detainees who are severely
 immunocompromised will be the highest priority. All detainee will have
 access to booster doses while we continue vaccinating new intakes and
 those detainees who may have refused at one time but would now like
 the vaccine.




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  Note: This plan was modified 4/9/2021. See information added in red
  text.
  Note: This plan was updated on 11/16/2021 by H.S.A Jaramillo. See
  Updates in bold.




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